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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA




DJENEBA SIDIBE, JERRY JANKOWSKI,
SUSAN HANSEN, DAVID HERMAN,
CAROLINE STEWART, OPTIMUM
GRAPHICS, INC., and JOHNSON POOL &
SPA, on Behalf of Themselves and All Others
Similarly Situated,
                                                  Case No. 3: 12-cv-4854-LB
                        Plaintiffs,
                                                  CLASS ACTION
                 v.


SUTTER HEALTH,


                        Defendant.




                        Expert Declaration of Dr. Tasneem Chipty
                  in Support of Plaintiffs’ Motion for Class Certification
                                      June 21, 2018




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I.     Introduction

       1.      My name is Tasneem Chipty. I declare under penalty of perjury under the laws of
the United States of America as follows:

       2.      I am the managing principal and founder of Matrix Economics, an economic
consulting firm in the Boston area. I specialize in industrial organization – the study of how
markets function, including the choices consumers make and the competitive interactions among
firms. I also specialize in econometrics – the application of statistical methods, including
regression models, to empirically study marketplace behaviors. I have served on the faculties of
The Ohio State University, Brandeis University, and the Massachusetts Institute of Technology,
where I taught courses in industrial organization, regulatory policy, and econometrics. I am the
author or coauthor of several academic articles, published in peer-reviewed journals including
the American Economic Review and the Review of Economics and Statistics. I am also a co-
editor of the 3rd Edition of the American Bar Association’s Proving Antitrust Damages book,
which describes different empirical approaches to measuring antitrust damages.

       3.      I have been a consultant to a variety of businesses and government agencies,
including the Department of Justice and the Federal Communications Commission. As part of
this work, I have studied market definition and competitive effects of firm behavior in a wide
range of industries, for both plaintiffs and defendants involved in adversarial proceedings. A
significant portion of my work has focused on the healthcare marketplace, specifically on issues
involving hospital competition and hospital contracting practices. For example, I served as a
consulting expert for private plaintiff Saint Alphonsus Medical Center to evaluate the
competitive effects of St. Luke’s Health System’s acquisition of Saltzer Medical Group, in
Nampa, Idaho. I serve as an antitrust advisor to the Massachusetts Health Policy Commission,
and in that capacity have studied the competitive effects of hospital acquisitions by Partners
HealthCare. For these and other assignments, I have analyzed patients’ choice of hospitals using
both state inpatient databases and health plan claims data; I have studied issues of product and
geographic market definition; and I have studied the question of whether hospitals have market
power over health plans in various relevant antitrust markets. I have also provided economic
analyses in matters concerning class certification: in particular, I served as a testifying expert for
the defense in Comcast Corp. v. Behrend, a case that included United States Supreme Court


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proceedings. I received my Ph. D. in economics from the Massachusetts Institute of Technology
in 1993 and my B. A. degree in economics and mathematics from Wellesley College in 1989. A
copy of my resume is attached as Appendix A. It describes my background, including education,
publications, and testimony experience.

        4.       I have been retained as an independent expert by Plaintiffs’ counsel to undertake
economic analyses of issues pertaining to liability, damages, and class certification in Sidibe et
al. vs. Sutter, a lawsuit challenging certain contracting practices of Sutter Health (“Sutter”) with
commercial health plans, such as Anthem Blue Cross of California (“Anthem”) and Blue Shield
of California (“Blue Shield”). 1 Sutter is the second largest health system in Northern California,
second only to Kaiser Permanente (“Kaiser”). Kaiser, however, is a closed health system that
does not contract with non-Kaiser commercial health plans. Therefore, Sutter is the largest
hospital system in Northern California with which commercial health plans contract to assemble
provider networks to attract subscribers seeking access to healthcare in Northern California.

        5.       Plaintiffs allege that Sutter exercises its market power over certain irreplaceable
Sutter hospitals, in what Plaintiffs refer to as “Tying Markets,” to force health plans into “all-or-
nothing” contracting; the effect of this practice is to tie the sale of Sutter inpatient hospital
services in the Tying Markets to the sale of services by other Sutter hospitals, in what Plaintiffs
refer to as “Tied Markets,” where health plans (and their plan members) have more hospital
choices. 2,3 Plaintiffs also allege that Sutter prohibits health plans from offering narrow or tiered
network products that would provide members immediate financial incentives for choosing
lower-cost hospitals, instead of Sutter. 4 I refer to Sutter’s imposition of these contractual terms
on health plans as the “challenged conduct.” According to the Complaint, the challenged conduct
has: (a) interfered with competition among hospitals that offer, among other things, general acute

1
  “Fourth Amended Complaint,” Djeneba Sidibe, Diane Dewey and Jerry Jankowski on Behalf of Themselves and
All 15 Other Similarly Situated, v. Sutter Health, Case No. 3:12-cv-4854-LB, filed September 29, 2017 in the United
States District Court Northern District of California (hereafter “Complaint”), ¶ 1.
2
  Complaint, ¶¶ 4-6.
3
  Throughout this report, I use the terms: (a) “health plan” to mean commercial health plans or insurers that sell
health insurance products; (b) “entities” to mean the purchasers of healthcare insurance products, including both
group purchasers, such as employers, and individuals; (c) “plan members” to mean individuals that are covered by
the health insurance policy; (d) “subscribers” to mean the primary plan members (e.g. the employees of a large
group); and (e) “patients” to mean individuals that use healthcare services.
4
  Complaint, ¶¶ 40-45.




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care inpatient hospital services; 5 (b) caused commercial health plans to pay more for inpatient
hospital services than they would have otherwise paid; and (c) caused employers and employees
in several insurance markets to pay more for healthcare coverage than they would have otherwise
paid. 6 The proposed Class is as follows: 7

         “All entities in California Rating area 1, 2, 3, 4, 5, 6, 8, 9 or 10 (the “Nine RAs” 8), and
         all individuals that either live or work in one of the Nine RAs, that paid premiums for a
         fully-insured health insurance policy from Blue Shield, Anthem Blue Cross, Aetna,
         Healthnet or United Healthcare. This class definition includes Class Members that paid
         premiums for individual health insurance policies that they purchased from these health
         plans and Class Members that paid premiums, in whole or in part, for health insurance
         policies provided to them as a benefit from an employer or other group purchaser located
         in one of the Nine RAs.”

    6.       I have previously submitted a report in this matter in which I evaluate issues
surrounding geographic market definition for inpatient hospital services. 9 Based on the analyses
I present in that report, I have concluded that the four candidate Tied Markets that Plaintiffs
describe in their Complaint, based on the geographic regions known as “health service areas” (or



5
  General acute care inpatient hospital services include a broad range of 24-hour inpatient care that includes but is
not limited to medical, nursing, surgical, and pharmacy services. Hospitals that provide such services are typically
referred to as general acute care inpatient hospitals; these hospitals exclude specialty facilities such as psychiatric
hospitals, rehabilitation facilities, and long-term acute care. For ease of notation, I refer to general acute care
inpatient hospitals as “hospitals” and general acute care inpatient hospital services as “inpatient hospital services.”
See “§ 70005. General Acute Care Hospital,” 22 CCR § 70005, available at
https://govt.westlaw.com/calregs/Document/ID7B72350D4BB11DE8879F88E8B0DAAAE?viewType=FullText&o
riginationContext=documenttoc&transitionType=CategoryPageItem&contextData=(sc.Default), site visited May 11,
2018.
6
  Complaint, ¶¶ 94-112.
7
  “Plaintiffs’ Memorandum of Points and Authorities in Support of Motion for Class Certification,” Djeneba Sidibe
et al. on Behalf of Themselves and All Others Similarly Situated, v. Sutter Health, Case No. 3:12-cv-4854-LB, filed
June 22, 2018 in the United States District Court Northern District of California (hereafter “Memorandum of
Points”), at p. 4.
8
  Rating area 1 includes the counties of: (a) Del Norte; (b) Siskiyou; (c) Modoc; (d) Lassen; (e) Shasta; (f) Trinity;
(g) Humboldt; (h) Tehama; (i) Plumas; (j) Nevada; (k) Sierra; (l) Mendocino; (m) Lake; (n) Butte; (o) Glenn; (p)
Sutter; (q) Yuba; (r) Colusa; (s) Amador; (t) Calaveras; (u) Tuolumne; and (v) Alpine. Rating area 2 includes the
counties of: (a) Napa; (b) Sonoma; (c) Solano; and (d) Marin. Rating area 3 includes the counties of: (a)
Sacramento; (b) Placer; (c) El Dorado; and (d) Yolo. Rating area 4 includes the county of San Francisco. Rating area
5 includes Contra Costa County. Rating area 6 includes Alameda County. Rating area 8 includes San Mateo County.
Rating area 9 includes Santa Cruz County. Rating area 10 includes the counties of: (a) Merced; (b) San Joaquin; and
(c) Stanislaus. See Complaint, ¶¶ 77-85.
9
  “Declaration of Dr. Tasneem Chipty in Opposition to Motion for Summary Judgment,” Djeneba Sidibe et al. on
Behalf of Themselves and All Others Similarly Situated, v. Sutter Health, Case No. 3:12-cv-4854-LB, May 26, 2018
(hereafter “Chipty SJ Declaration”).




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“HSAs”), are relevant antitrust markets. 10 These Tied Markets include: (a) the Sacramento HSA,
where Sutter owns and operates Sutter Medical Center, Sacramento (“Sutter Sacramento”); (b)
the San Francisco HSA, where Sutter owns and operates four campuses of California Pacific
Medical Center, three of which (the Davies, Pacific, and California campuses) are described as
“CPMC-Main” and one of which (the St. Luke’s campus) is described as “CPMC-St. Luke’s;”
(c) the Modesto HSA, where Sutter owns and operates Memorial Medical Center Modesto
(“Sutter Modesto”); and (d) the Santa Rosa HSA, where Sutter owns and operates Sutter Santa
Rosa Regional Hospital (“Sutter Santa Rosa”). 11 I have also concluded that seven of the eight
candidate Tying Markets that Plaintiffs describe in their Complaint constitute relevant antitrust
markets. These seven Tying Markets include: (a) the combination of the Berkeley and Oakland
HSAs, where Sutter owns and operates three campuses of Alta Bates Medical Center, two of
which (the main and Herrick campuses) are located in Berkeley and are described together as
“Alta Bates-Main” and one of which (the Summit campus) is located in Oakland and is described
as “Alta Bates-Summit;” (b) the Crescent City HSA, where Sutter owns and operates Sutter
Coast Hospital (“Sutter Coast”); (c) the Lakeport HSA, where Sutter owns and operates Sutter
Lakeside Hospital (“Sutter Lakeside”); (d) the Antioch HSA, where Sutter owns and operates
Sutter Delta Medical Center (“Sutter Delta”); (e) the Jackson HSA, where Sutter owns and
operates Sutter Amador Hospital (“Sutter Amador”); (f) the Tracy HSA, where Sutter owns and
operates Sutter Tracy Community Hospital (“Sutter Tracy”); and (g) the Auburn HSA, where
Sutter owns and operates Sutter Auburn Faith Hospital (“Sutter Auburn”). 12 In the case of the




10
   Complaint, ¶ 5. The Dartmouth Institute for Health Policy & Clinical Practice, the organization that compiles the
Dartmouth Atlas of Healthcare, describes HSAs as a “collection of ZIP codes whose residents receive most of their
hospitalizations from the hospitals in that area.” See The Dartmouth Atlas of Healthcare, “Glossary,” available at
http://www.dartmouthatlas.org/tools/glossary.aspx, site visited April 4, 2018. See also, The Center for the
Evaluation of Clinical Services, “The Dartmouth Atlas of Health Care,” available at
http://www.dartmouthatlas.org/downloads/atlases/96Atlas.pdf, site visited April 4, 2018, at pp. 12-13.
11
   In 2014, Sutter closed Sutter Medical Center of Santa Rosa and opened a new location, Sutter Santa Rosa
Regional Hospital. See Sutter Health, “Sutter Santa Rosa History,” available at
https://www.sutterhealth.org/ssrrh/about/history/history-ssrrh, site visited April 2, 2018.
12
   Chipty SJ Declaration, ¶ 9.




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Sutter Davis Hospital (“Sutter Davis”), the evidence suggests that the relevant antitrust market is
no broader than the hospital’s 90 percent primary service area (“PSA”). 13,14

         7.       In this report, I describe economic analyses that I have performed and conclusions
that I have reached in connection with Plaintiffs’ motion for class certification. As part of my
assignment, I describe the likely economic effects of Sutter’s contracting practices. I determine
whether evidence exists that is common to members of the proposed Class which can be used to
show that all or nearly all proposed Class Members incurred at least some common antitrust
impact as a result of Sutter’s conduct (in the form of an overcharge). I also estimate the
aggregate overcharge incurred by the proposed Class as a result of the alleged anticompetitive
conduct and determine whether a common method can be used to calculate individual damages
for Class Members on a formulaic basis. For reasons I explain in the report, my analysis of
common impact and damages is limited to harm resulting from overcharges at the Sutter
hospitals in the four Tied Markets and the Tying Market of Berkeley-Oakland (referred to
collectively as the “Sutter Damage Hospitals”).

         8.       In forming my opinions, I have reviewed documents prepared in the ordinary-
course of business from Sutter and various California health plans, including Anthem, Blue
Shield, UnitedHealthcare (“United”), Health Net, and Aetna (referred to collectively as the
“Class Health Plans”). I understand that my team and I have had access to all documents,
deposition testimony, and discovery responses produced by or to Plaintiffs in this matter. These
documents include, but are not limited to, strategy documents, internal email exchanges, pricing
analyses, and contracts. Among other things, I have analyzed: (a) data from the American
Hospital Association; (b) inpatient discharge and hospital annual financial disclosure data from



13
   The term primary service area generally refers to the geography from which the hospital receives most of its
patients. This concept is used in the ordinary-course by hospitals as well as by federal antitrust authorities tasked
with oversight of hospital markets. For example, accountable care organizations track their 75 percent service area,
which is defined as “the lowest number of postal zip codes from which [an accountable care organization
participant] draws at least 75 percent of its [patients].” (See U.S. Department of Justice, “Statement of Antitrust
Enforcement Policy Regarding Accountable Care Organizations Participating in the Medicare Shared Savings
Program.” Federal Register, Vol. 76, No. 209, 2011, available at https://www.gpo.gov/fdsys/pkg/FR-2011-10-
28/pdf/2011-27944.pdf, site visited April 24, 2018, at p. 67028.) Similarly, a hospital’s 90 percent primary service
area is the smallest collection of zip codes which account for 90 percent of the hospital’s discharges. Throughout
this report, I use the term “PSA” to refer to a 90 percent primary service area defined in this way.
14
   Chipty SJ Declaration, ¶ 10.




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Welsh, Vice President for Network Management in Northern California at Aetna; 22 (g) Becky
LaCroix-Milani, Regional Vice President for Provider Network Management at Health Net; 23 (h)
Jeff Sprague, Chief Financial Officer at Sutter; 24 and (i) Michael Ramseier, President and
General Manager at Anthem. 25 I have also reviewed deposition testimony collected in this
matter, including, but not limited to, the testimony of: (a) Bob Reed, Sutter’s Chief Financial
Officer until January 2015; (b) Jeff Sprague, Sutter’s current Chief Financial Officer; (c) Peter
Anderson, Sutter’s Chief Strategy Officer; (d) Melissa Brendt, Sutter's Chief Contracting
Officer; (e) Randy Lukins, Regional Director of Contracting for Anthem; (f) David Joyner,
Senior Vice President of Network Management for Blue Shield; (g) Michael Beuoy, Vice
President at Blue Shield, overseeing pricing and forecasting for all of Blue Shield’s lines of
business; (h) Tracy Barnes, Director of Contracting for Northern California at Blue Shield; (i)
and Chris Mathewson, Actuarial Director for Anthem Blue Cross. Additionally, I have reviewed
and relied upon the opinions of David Axene, actuary and founder of Axene Health Partners,
who has also submitted a report in this matter. 26 These and other materials are cited throughout
my report. A full list of materials that I have considered in forming my expert opinions is
attached as Appendix B to this report.

         9.       The work presented in this report has been conducted by me and staff working
under my direction, at both Berkeley Research Group and Matrix Economics. I receive $850 per
hour for my work in this matter. I also receive compensation from Berkeley Research Group
based on its collected staff billings in support of this effort. My compensation is not dependent
on the outcome of this matter. My work is ongoing, and I will continue to review the discovery

22
   “Declaration of Chandra Welsh in Connection with Plaintiff UEBT’s Motion for Class Certification”, UFCW &
Employers Benefit Trust, on behalf of itself and all others similarly situated, Plaintiffs, vs. Sutter Health, et al.,
Defendants, Case No. CGC 14-538451, February 8, 2017 (hereafter “Welsh Declaration”).
23
   “Declaration of Becky LaCroix-Milani in Connection with Plaintiff UEBT’s Motion for Class Certification,”
UFCW & Employers Benefit Trust, on behalf of itself and all others similarly situated, Plaintiffs, vs. Sutter Health,
et al., Defendants, Case No. CGC 14-538451, February 7, 2017 (hereafter “LaCroix-Milani Declaration”).
24
   “Declaration of Jeff Sprague in Connection with Plaintiff UEBT’s Motion for Class Certification,” UFCW &
Employers Benefit Trust, on behalf of itself and all others similarly situated, Plaintiffs, vs. Sutter Health, et al.,
Defendants, Case No. CGC 14-538451, April 11, 2017 (hereafter “Sprague Declaration”).
25
   Declaration of Michael Ramseier in Connection with Plaintiff UEBT’s Motion for Class Certification, UFCW &
Employers Benefit Trust, on behalf of itself and all others similarly situated, Plaintiffs, vs. Sutter Health, et al.,
Defendants, Case No. CGC 14-538451, February 6, 2016 (hereafter “Ramseier Declaration”).
26
   “Declaration of David V. Axene, FSA, FCA, CERA, MAAA in Support of Plaintiffs’ Motion for Class
Certification,” Djeneba Sidibe, Diane Dewey and Jerry Jankowski on Behalf of Themselves and All 15 Other
Similarly Situated, v. Sutter Health, Case No. 3:12-cv-4854-LB, June 21, 2018 (hereafter “Axene Declaration”).


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record to understand the evidence in this case. I reserve the right to supplement and to amend my
opinions.


II.       Summary of Opinions

          10.    Based on my training and experience in healthcare antitrust economics, my
analysis of the ordinary-course evidence in this case, and statistical analyses of Northern
California hospital prices from                          it is my opinion that: (a) the proposed Class
includes hundreds of thousands of Class Members; (b) a common method exists to demonstrate
that Sutter’s contracting practices have resulted in harm to all or nearly all Class Members; (c)
evidence that is common to members of the proposed Class shows that all or nearly all proposed
Class Members paid higher health insurance premiums as a result of Sutter’s conduct; and (d) the
amount of harm to the proposed Class can be estimated on an aggregate and an individual level
using a common, formulaic methodology. The key pieces of evidence relevant to the opinions
that I express in this report are summarized here.

      x   The proposed Class consists of hundreds of thousands of entities (employers and
          individuals) who during the Class period paid premiums for a fully-insured health
          insurance product offered by the Class Health Plans.

      x   A growing body of economics literature indicates that contracting practices like Sutter’s
          can interfere with the competitive process for the sale of inpatient hospital services to
          commercial health plans. This literature demonstrates that higher prices can result from
          “all-or-nothing” and anti-steering contracting practices, like the ones at issue here.

      x   There is ample case-specific evidence from ordinary-course documents and declarations
          from health plan executives that Sutter’s contracting practices interfered with health
          plans’ ability to walk away from Sutter and offer lower-cost health insurance products.
          There is also ample evidence from the record – including in deposition testimony of
          Sutter personnel and health plan executives – and from third-party reports studying
          hospital prices in Northern California that, over the course of many years, Sutter has
          charged significantly higher prices for inpatient hospital services (in addition to
          outpatient and professional services), as compared to other California healthcare systems.
          This evidence is reinforced by my own analysis of: (a) hospital prices from OSHPD data



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           other health plans. To get an approximate sense of total premium overpayments resulting
           from the challenged conduct, one can extrapolate from                             to all
           Class Health Plans, using information on             share of all entities in the nine rating
           areas purchasing health insurance policies from one of the Class Health Plans. This
           calculation yields aggregate premium damages, or overpayments by all Class Members,
           to be between $723 million and $749 million.

       x   Furthermore, a common method for calculating individual damages exists for all Class
           Members. This method can be applied regardless of the health plan from which the Class
           Member purchased coverage, whether the Class Member is an individual, small group, or
           large group purchaser, the level of benefits purchased, the health plan product that is
           purchased, or the geography in which the health plan member resided or worked.

The remainder of this report describes the support for each of these opinions.


III.       Background

           11.    This section provides relevant background to help guide the discussion and
assessment of class issues and damages. It provides an overview of some of the unique features
of healthcare markets, the Northern California healthcare landscape where Sutter is located, and
the contractual restrictions in Sutter’s contracts with health plans, that are at the heart of this
case. Throughout this report, I refer to “Northern California” as the 48 counties north of San Luis
Obispo, Kern, and San Bernardino counties, as shown in Exhibit 1.




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                                              Exhibit 1
                                           Map of California




       Source: US Census Bureau; and Tenn, Steven, “The Price Effects of Hospital Mergers: A Case
       Study of the Sutter-Summit Transaction,” International Journal of the Economics of Business,
       Vol. 18, No.1, 2011, pp. 65-82, at p.74.



       A.      Unique Features of Healthcare Markets

       12.     As recognized by antitrust scholars in healthcare, analysis of the competitive
effects of hospital conduct must account for the unique features of healthcare markets that




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distinguish healthcare from “standard” goods and services. 31 Unlike with standard goods and
services, consumers seek access to healthcare services even before they know what their medical
needs are. In addition, consumers do not negotiate directly with healthcare providers; instead,
they purchase access to provider networks assembled by health plans. Healthcare providers
include: (a) hospitals that provide general or specialized care to treat diseases or trauma on a
short-term, inpatient basis; (b) specialty hospitals that include psychiatric and rehabilitation
facilities; (c) long-term care facilities; (d) outpatient facilities; and (e) physicians. Provider
networks include a selection of each of these types of healthcare providers. The allegations in
this case and, thus, the analyses in this report focus on competition among hospitals that provide
acute care on a short-term, inpatient basis.

         13.      Health plans negotiate agreements with hospital systems, like Sutter, over the
terms of their inclusion in provider networks. 32 Such agreements specify the prices (sometimes
referred to as “allowed amounts”) that a hospital will receive for inpatient hospital services
health plan members may receive at the hospital. 33 Agreements between health plans and
hospital systems can also specify other terms. There may be terms, for example, that govern
where the hospital system is placed in the health plan’s provider network (e.g. equal placement
in a broad network product or preferred placement in a tiered or narrow network product). There
may be terms, as in the case of Sutter’s contracts with health plans, that govern whether and how
health plans can incent patients to choose among the different providers in the network.




31
   Vistnes, Gregory, “Hospitals, Mergers, and Two-Stage Competition,” Antitrust Law Journal, Vol. 67, No. 3,
2000, pp. 671-692 (hereafter “Vistnes (2000)”); Ho, Kate and Robin Lee, “Equilibrium Provider Networks:
Bargaining and Exclusion in Health Care Markets,” NBER Working Paper 23742, Issued August 2017, Revised
May 2018, available at http://www nber.org/papers/w23742.pdf, site visited May 23, 2018, (hereafter “Ho and Lee
(2018)”); and Kessler, Daniel and Mark McLellan, “Is Hospital Competition Socially Wasteful?” Quarterly Journal
of Economics, Vol. 115, No. 2, 2000, pp. 577-615 (hereafter “Kessler and McLellan (2000)”).
32
   Health plans sell access to provider networks to both self-insured and fully-insured covered lives. Health plans
also sell administrative services such as claims processing, to self-insured employers, and risk-bearing services. See,
for example, Austin, D. Andrew and Thomas Hungerford, “The Market Structure of the Health Insurance Industry,”
Congressional Research Service, CRS Report R40834, May 25, 2010, available at
https://fas.org/sgp/crs/misc/R40834.pdf, site visited October 24, 2017, at pp. 21-22.
33
   Allowed amounts are borne by individuals and group purchasers through premiums. They can also be borne by
plan members through deductibles, copayments, or coinsurance, depending on the terms of the agreement between
the plan member and the health plan.




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         14.      Hospital markets have been characterized by two stages of competition. 34 In the
first stage, hospitals compete with each other to be included in provider networks. In the second
stage, patients choose a hospital from their provider network. Patients that have equal access to
all hospitals in their provider network typically choose a hospital based on non-price factors such
as convenience and whether the hospital has the expertise to address their medical need. Health
plans, however, increasingly use benefit design to cause patients to internalize hospital prices in
making their hospital choice; the effect of such benefit design is to steer patients to choose
hospitals that cost less. 35 For example, some health plans may give plan members a discount for
agreeing to use a narrower provider network consisting of less expensive hospitals. Some health
plans may give patients a discount for choosing a lower-priced hospital within a provider
network. In such cases, patients are more likely to consider price as a factor in their hospital
choice. Health plans have more leverage in their negotiation with hospitals when there are more
competing hospitals capable of serving the needs of area-patients and when patients can be
steered to use lower-priced hospitals. 36 By contrast, where there are fewer competing hospitals or
where plan members have strong preferences for a hospital, that hospital has more leverage in its
negotiations with health plans.

         15.      According to the Complaint, there are some hospital markets in Northern
California where health plans could use benefit design to steer patients away from higher-priced
Sutter hospitals. 37 There are also some hospital markets in Northern California where some plan
members cannot be steered because they have strong preferences for Sutter hospitals. 38

34
   Vistnes (2000), at p. 672 (“Hospital competition is modeled as a two-stage game. In the first stage, hospitals
compete to be included in a plan’s hospital network. In the second stage, hospitals compete for a plan’s individual
enrollees….”); and Farrell, Joseph, David Balan, Keith Brand, and Brett Wendling, “Economics at the FTC:
Hospital Mergers, Authorized Generic Drugs, and Consumer Credit Markets” Review of Industrial Organization
Vol. 39, No. 4, 2011, pp. 271-296, at p. 4.
35
   Delbanco, Suzanne, Roslyn Murray, Robert A. Berenson, and Divvy K. Upadhyay, “A Typology of Benefit
Designs,” Urban Institute, April 2016, available at
https://www.urban.org/sites/default/files/publication/80321/2000780-A-Typology-of-Benefit-Designs.pdf, site
visited April 18, 2018, at p. 1.
36
   Vistnes (2000), at p. 677 (“The strength of a plan’s threat [in negotiations with a hospital] also depends on the
extent to which other hospitals are good substitutes from the patient’s perspective.”); and Ho and Lee (2018), at p.
48 (“[W]e find that selective contracting and informed network design can have substantial effects on overall health
care spending. Narrow hospital networks are preferred by a profit-maximizing insurer primarily due to their ability
to substantially reduce negotiated rates.”).
37
   Complaint, ¶ 6.
38
   Complaint, ¶ 4.




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According to the Complaint, Sutter forces health plans to include all Sutter hospitals in their
provider networks, and Sutter prohibits health plans from giving patients financial incentives to
go to lower-priced hospitals. 39 Given the nature of hospital markets, one would expect the effect
of Sutter’s conduct, under certain circumstances, to raise Sutter hospital prices.

        B.       The Role of Kaiser Permanente

        16.      Kaiser Permanente (“Kaiser”) is the largest healthcare system in California.
Kaiser consists of a network of owned and operated hospitals, outpatient facilities, and
physicians. 40 Kaiser is also a health plan covering about 45 percent of commercial plan members
in the state of California. 41 The Kaiser health plan is widely described as a “health maintenance
organization,” 42 which means that Kaiser plan members must stay within the Kaiser network and
their care is closely managed to contain costs. Kaiser is a “closed” healthcare system because
non-Kaiser health plans, like Anthem and Blue Shield, cannot include Kaiser hospitals in their
provider networks. With the exception of emergencies, only Kaiser plan members can access
healthcare in the Kaiser system.

        17.      Because Kaiser is a closed system, commercial health plans cannot turn to Kaiser
hospitals as substitutes for non-Kaiser hospitals, like the Sutter hospitals, when assembling their
provider networks. Thus, Kaiser does not compete with Sutter in the first stage of hospital
competition, for inclusion in provider networks. Kaiser also does not compete with Sutter in the
second stage of hospital competition to attract patients because no patient would have both
Kaiser and Sutter hospitals in his or her provider network. Thus, Kaiser hospitals are not in the
relevant antitrust markets for the purpose of evaluating Sutter’s market power over health plans
like Anthem and Blue Shield, which are the “upstream” markets for the sale of inpatient hospital




39
   Complaint, ¶¶ 33-46.
40
   Kaiser Permanente, “Fast Facts About Kaiser Permanente,” available at https://share kaiserpermanente.
org/article/fast-facts-about-kaiser-permanente/, site visited March 17, 2018.
41
   California Health Care Foundation, “California Health Insurers, Enrollment,” available at
https://www.chcf.org/wp-content/uploads/2018/02/QRGHealthInsurersEnrollment2018.pdf, site visited April 30,
2018, p. 2.
42
   CalHealth.Net, “Anthem Blue Cross Versus Kaiser – The Heavyweights of California,” available at
https://www.calhealth net/Kaiser-versus-Anthem-California.htm, site visited April 8, 2018.




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shows a breakdown, by year, along with the split between inpatient and outpatient charges. As
seen here, there has been a decrease in the number of hospitals. Throughout the period, charges
for inpatient services account for the majority of hospital charges, though there has been a shift
in the composition towards outpatient care.

                                                 Exhibit 2
                                       Northern California Hospitals,
                                     Inpatient and Outpatient Charges




            Notes:
            1. Hospitals are defined as hospitals with "General" or "General Acute" as a type of care in
            the OSHPD Patient Discharge Pivot Profiles and with a CMS ID in the range 050001 -
            050879.
            2. This summary excludes all Kaiser facilities.
            Sources:
            1. OSHPD Hospital Annual Financial Disclosure Data Pivot Profiles, 2008-2015.
            2. OSHPD Hospital Annual Financial Disclosure Data Complete Data Set, 2008-2015.
            3. Centers for Medicare and Medicaid Services (CMS) Historical Impact Files, 2008-2015.


         20.      As of 2015, the top-five hospital systems, in order of number of hospitals in
Northern California are: (a) Sutter, with 22 hospitals; (b) Dignity Health, with 14 hospitals; (c)
Adventist, with seven hospitals; (d) St. Joseph Health System, with five hospitals; and (e) Tenet
Healthcare, with three hospitals. Exhibit 3A shows the distribution of all Northern California
systems, based on their number of hospitals in Northern California, and Exhibit 3B shows the
distribution of all Northern California systems, based on their number of hospital beds in
Northern California. 48 By both metrics, Sutter is the largest health system in Northern California

48
  Systems were defined based on each hospital’s system name from the OSHPD Hospital Annual Financial
Disclosure Data Pivot Profiles, which is populated for all systems with at least three hospitals. See Appendix C; and
Chipty Workpapers.




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                                              Exhibit 3B
                              Northern California Hospital Systems in 2015,
                                        Based on Hospital Beds




               Note: See notes for Exhibit 2.
               Source: See sources for Exhibit 2.


         D.        Sutter Health

         21.       Sutter is a health system headquartered in Sacramento. Sutter consists of a
network of hospitals, physician organizations, surgery centers, home health and hospice
programs, medical research facilities, training programs, and specialty services, serving
communities in Northern California cities and towns. Sutter currently reports that it owns and
operates: (a) 24 hospitals; 50 (b) a network of about 5,500 physicians; (c) about 35 outpatient
surgery centers; (d) about five acute rehabilitation centers; (e) seven behavioral health centers;
(f) about 30 urgent care centers; and (g) about ten walk-in-clinics. 51

         22.       Exhibit 4 shows a list of all Sutter hospitals, along with each hospital’s: (a)
location; (b) bed count; and (c) description in the Complaint as a “Tying,” “Tied,” or “Other”



50
   As described in ¶ 20, OSHPD reports there were 22 Sutter hospitals in 2015. Today, Sutter reports having 24
hospitals on its website. See Sutter Health, “What is Sutter Health,” available at
https://www.sutterhealth.org/about/what-is-sutter-health, site visited May 17, 2018.
51
   Sutter Health, “What is Sutter Health,” available at https://www.sutterhealth.org/about/what-is-sutter-health, site
visited May 17, 2018.


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hospital. As seen here, the largest Sutter hospital is CPMC-Main, located in San Francisco; it has
three campuses – Davies, Pacific, and California – which report jointly to OSHPD, as well as the
CPMC-St. Luke’s campus, which reports separately. The next largest Sutter hospital is Sutter
Sacramento, in Sacramento, which was previously composed of two campuses: Sutter Memorial
and Sutter General. The third largest Sutter hospital is the combination of Alta Bates-Main and
Alta Bates-Summit, located in Alameda County. Exhibit 5 shows a map of the Sutter hospitals.

                                                Exhibit 4
                                             Sutter Hospitals
    Hospital                                 HSA(s)                   County        Beds Complaint
    CPMC-Main                                San Francisco            San Francisco 970    Tied
    Sutter Sacramento                        Sacramento               Sacramento    754    Tied
    Sutter Modesto                           Modesto                  Stanislaus    423    Tied
    CPMC-St Luke's                           San Francisco            San Francisco 229    Tied
    Sutter Santa Rosa                        Santa Rosa               Sonoma        135    Tied
    Alta Bates-Main                          Berkeley - Oakland       Alameda       527    Tying
    Alta Bates-Summit                        Berkeley - Oakland       Alameda       399    Tying
    Sutter Delta                             Antioch                  Contra Costa 145     Tying
    Sutter Tracy                             Tracy                    San Joaquin    82    Tying
    Sutter Auburn                            Auburn                   Placer         78    Tying
    Sutter Coast                             Crescent City            Del Norte      59    Tying
    Sutter Amador                            Jackson                  Amador         52    Tying
    Sutter Davis                             Davis                    Yolo           48    Tying
    Sutter Lakeside                          Lakeport                 Lake           37    Tying
    Peninsula Medical Center                 Burlingame               San Mateo     376    Other
    Sutter Roseville Medical Center          Roseville                Placer        328    Other
    Eden Medical Center                      Castro Valley            Alameda       271    Other
    Sutter Solano Medical Center             Vallejo                  Solano        102    Other
    San Leandro Hospital                     San Leandro              Alameda        93    Other
    Novato Community Hospital                Novato                   Marin          47    Other
    Memorial Hospital Los Banos              Los Banos                Merced         46    Other
    Sutter Maternity & Surgery Center        Santa Cruz               Santa Cruz     30    Other
    Menlo Park Surgical Hospital             Stanford                 San Mateo      16    Other
Note:
1. San Leandro Hospital was sold by Sutter Health in 2013.
2. Beds shown are licensed beds as reported in the OSHPD Pivot Profiles.
Sources:
1. California Office of Statewide Health Planning and Development (OSHPD), 2011 Pivot Profiles.
2. Dartmouth Atlas of Healthcare Hospital Service Area (HSA) Listings.




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                                            Exhibit 5
                                   Map of the Sutter Hospitals




Sources:
 1. Shapefile Sources: US Census Bureau, Google Maps.
 2. Hospital Locations: OSHPD Hospital Annual Financial Disclosure Pivot Profile Data, 2011.




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                                             Exhibit 7
                         California Rating Areas, Post-Affordable Care Act




Source: Shorr, Steve. 2018. “Rating region standardization.” Accessed March 19, 2018 at
https://steveshorr.com/steveshorr/individual_and_family/Covered.CA/legislation/standard rating.regions.pdf.




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those hospitals from the perspective of a significant number of plan members. These hospitals
are the “Tying” hospitals of: (a) Alta Bates-Main; (b) Alta Bates-Summit; (c-) Sutter Lakeside;
(d) Sutter Amador; (e) Sutter Coast; (f) Sutter Delta; (g) Sutter Auburn; (h) Sutter Tracy; and (i)
Sutter Davis. 78

         32.       According to Plaintiffs, Sutter forces health plans to take all Sutter hospitals in
network, either by imposing explicit “all-or-nothing” requirements or by imposing punitive out-
of-network rates (referred to as “non-par rates”) for non-participating hospitals. 79 Sutter also
prohibits health plans from engaging in benefit design that has the effect of steering some of their
members to lower-cost, quality providers that participate in their provider networks. 80 Sutter’s
ability to force health plans into onerous contracts stems from health plan demand for Sutter’s
Tying hospitals, located in various Tying Markets.

         33.       Thus, Sutter allegedly abuses its market power in the Tying Markets to extract
higher prices from health plans in the Tied Markets, where Sutter does not have the same market
power. Sutter also allegedly interferes with competition in both the Tying and the Tied markets,
where health plans might use benefit design to steer patients to lower cost hospitals. The result of
this conduct has been to raise inpatient hospital services prices charged to health plans, and thus,
premiums charged to entities purchasing health insurance policies.


IV.      Health Plans Face Common Contractual Provisions in Systemwide Contracts with
         Sutter

         34.       The evidence shows that Sutter has imposed the same or nearly the same
contractual terms with respect to “all-or-nothing” requirements, excessive non-par rates, anti-
steering, and anti-tiering provisions in their contracts with each of the Class Health Plans from
which Class Members purchased health insurance policies over the Class period. 81 The parity




78
   Complaint, ¶ 6.
79
   Complaint, ¶¶ 1, 13, and 33-34 (Beginning around 2004, Sutter required health plans to pay between 95 percent
and 100 percent of billed charges, referred to as “non-par” rates, for out-of-network care). I often use the term “all-
or-nothing” to describe the “non-par” provisions.
80
   Complaint, ¶¶ 40-43.
81
   Complaint, ¶¶ 1 and 13.




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        A.       Tying

        55.      Sutter’s practice of forcing health plans to include in their provider networks all
Sutter hospitals can be described by various terms, including “all-or-nothing” contracting,
“bundling,” or “tying.” Regardless of the label or the precise mechanism through which it is
achieved, the effect of the practice is that health plans need to include all Sutter hospitals in their
provider network. As explained by the Federal Trade Commission (“FTC”): 115

        “A monopolist may use forced buying, or ‘tie-in’ sales, to gain sales in other markets
        where it is not dominant and to make it more difficult for rivals in those markets to obtain
        sales. This may limit consumer choice for buyers wanting to purchase one (‘tying’)
        product by forcing them to also buy a second (‘tied’) product as well. Typically, the ‘tied’
        product may be a less desirable one that the buyer might not purchase unless required to
        do so, or may prefer to get from a different seller. If the seller offering the tied products
        has sufficient market power in the ‘tying’ product, these arrangements can violate the
        antitrust laws.”

        56.      Of course, offering products together can benefit consumers who like the
convenience of buying several products together at the same time. As explained by the FTC,
“[o]ffering products together can also reduce the manufacturer’s costs for packaging, shipping,
and promoting the products.” 116 However, the fact that Sutter also imposes anti-steering
restrictions indicates that a non-negligible share of patients would be willing to forego use of
some of the Sutter hospitals, at least at some price level. At least these patients and their health
plans may prefer not to have to contract with all Sutter hospitals.

        B.       Steering Practices

        57.      In a traditional broad network insurance product, patients can choose any provider
in the network without an immediate cost consequence. That is, the out-of-pocket costs to the
patient are largely the same, no matter which hospital from the provider network is selected,
despite the fact that some hospitals may be significantly more expensive than others for the


115
    Federal Trade Commission, “Tying the Sale of Two Products,” available at https://www.ftc.gov/tips-
advice/competition-guidance/guide-antitrust-laws/single-firm-conduct/tying-sale-two-products, site visited March
19, 2018.
116
    Federal Trade Commission, “Tying the Sale of Two Products,” available at https://www.ftc.gov/tips-
advice/competition-guidance/guide-antitrust-laws/single-firm-conduct/tying-sale-two-products, site visited March
19, 2018.




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health plan. Thus, in a broad network insurance product, a higher-priced hospital can attract as
much patient volume as a lower-priced hospital. To temper this problem, health plans and
employers increasingly use plan design to provide patients incentives to use lower-priced
hospitals. As explained by Health Affairs, health plans and employers are turning to a variety of
methods to influence consumer choice. 117 These methods include the use of “narrow networks;
tiered networks; reference pricing; high deductible health plans; centers of excellence; value-
based insurance design; and, incentives to use alternative sites of care.” 118 By giving consumers
financial incentives, like lower copays for choosing lower cost providers in a tiered network or
lower premiums for choosing narrow network products, several of these methods attempt to
restore the price-choice connection for consumers.

        58.      As explained in academic research on this topic, health plans can use steering
strategies to obtain more favorable prices in their negotiations with hospitals. 119 Where they can
do so, providers compete for being the preferred provider in a narrow or tiered network product,
by giving discounts in exchange for volume. Health plans can use simply the threat of creating
narrow and tiered network products to place competitive pressure on hospitals.

        59.      The research also shows that steering (or simply the threat of steering) can result
in lower premiums for consumers. For example, Professors Ho and Lee explain that because
steering lowers health plans’ costs and because they compete with one another for subscribers,
health plans would be expected to offer lower premiums for narrow or tiered network products
than they would for a broad network product. 120 To be competitive, tiered and narrow network
products must be priced lower than broad network products, all else equal. If they were not, no
one would buy them. Furthermore, they explain that tiered and narrow network products not only
are priced lower than broad network products, they can also exert downward pressure on the
prices of broad network products. In the presence of competition from popular narrow and tiered



117
    Delbanco, Suzanne, Robert Berenson, Divvy Upadhyay, and Roslyn Murray, “Understanding How Payment and
Benefit Designs Work Together In Health Care,” Health Affairs Blog, May 25, 2016 (hereafter “Delbanco et al.”),
available at http://www healthaffairs.org/do/10.1377/hblog20160525.055020/full/, site visited November 13, 2017,
p. 3.
118
    Delbanco et al., pp. 4-5.
119
    Ho and Lee (2018), pp. 11-12.
120
    Ho and Lee (2018), p. 4.




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       x   By steering (or threatening to steer) patient volume to lower-priced hospitals, health plans
           may gain bargaining leverage over hospitals and may be able to create competitive
           rivalry among hospitals to lower price in exchange for volume. The inability to steer
           patients away from higher priced hospitals would reduce health plans’ bargaining
           leverage in negotiations with hospitals and dampen competitive rivalry among hospitals.

       x   The ability to offer new and innovative health insurance products, like narrow and tiered
           network products, can foster competition among health plans. This competition would, in
           turn, place downward pressure on premiums, including for broad network products. Anti-
           steering provisions would interfere with this competition.

Thus, anti-steering provisions could also result in higher prices, less choice for consumers, and
ultimately less innovation by health plans.

           62.      These economic principles are supported by empirical evidence. For example,
Professors Ho and Lee apply their bargaining framework to simulate optimal network structure
and negotiated reimbursement rates in a counterfactual world where Blue Shield could create
narrow network products and threaten to exclude hospitals in order to negotiate lower prices.
With respect to Blue Shield’s contractual incentives, Professors Ho and Lee simulate that by
adopting this strategy, Blue Shield would negotiate hospital prices that are 12 percent lower than
they would have been otherwise. 124 Professors Ho and Lee go on to explain that some of these
price reductions would be passed along to consumers in the form of lower premiums.

           63.      Empirical evidence, based on data from healthcare exchanges from multiple
states, also indicates that plans with narrow hospital networks tend to be less expensive for
consumers. Examination of data from eight states (California, Colorado, Florida, Michigan, New
Jersey, New York, Texas, and Washington), for example, shows that network breadth is
negatively correlated with insurance premiums; increasing the breadth of the network from
narrow to broad is associated with an increase in premiums by about sixteen percent. 125 This
result is also confirmed by an analysis based on data from all fifty states (plus the District of
Columbia): after controlling for characteristics that may influence premium variations between


124
      Ho and Lee (2018), p. 4.
125
      Dafny et al., pp. 1606-1607.




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outpatient services revenue collected by hospitals, 155 from all commercial health plans. 156 For
each hospital in Northern California, for each year from 1995 to 2016, I calculate and compare
net patient revenue as a multiple of Medicare, across Sutter and non-Sutter hospitals in Northern
California. 157,158 Comparisons based on this price measure implicitly adjust for differences in
complexity of care provided at the different hospitals.

        75.      Exhibit 10 shows this price measure for the set of the Sutter Damage Hospitals
(the red line) for which I assess damages later in this report; these hospitals include: (a) Sutter
Sacramento; (b) CPMC-Main; (c) CPMC-St. Luke’s; (d) Sutter Modesto; (e) Sutter Santa Rosa;
(f) Alta Bates-Main; and (g) Alta Bates-Summit. Exhibit 10 also shows the same measure of
price for three reference groups: (a) the Dignity Health hospitals in Northern California (the
orange line); (b) all non-Sutter, non-Kaiser, Northern California hospitals (the black line); and
(c) all non-Sutter, non-Kaiser, Northern California hospitals that belong to a hospital system (the
blue line) – for which there are data over the time period.

        76.      As seen here, from 1995 to about 2002, Sutter’s prices were comparable to those
of other area hospitals. Beginning about 2002, at about the time when Sutter implemented its
“all-or-nothing” contracting strategy, Sutter’s prices have exceeded prices at the comparison
hospitals; and Sutter’s prices have risen at a faster rate.




155
    Net patient revenue is defined as gross patient revenue and capitation premium revenue less deductions from
revenue. See OSHPD, “Hospital Annual Financial Data,” June 30, 2004, available at
https://www.oshpd.ca.gov/documents/HID/HospitalFinancial/Pivot/HAFDDoc2013.pdf, site visited April 13, 2018.
156
    These revenues include revenues for all patients covered by health plans other than those funded by Medicare,
Medi-Cal, or a county, including Managed Care, Short-Doyle, CHAMPUS, IRCA/SLIAG, California Children's
Services, Healthy Families, indemnity plans, fee-for-service plans, and Workers' Compensation. See OSHPD,
“Hospital Annual Financial Data,” June 30, 2004, available at
https://www.oshpd.ca.gov/documents/HID/HospitalFinancial/Pivot/HAFDDoc2013.pdf, site visited April 13, 2018.
157
    Medicare is the single largest payor in the United States healthcare industry. This fact makes the Medicare
allowed amount a commonly used and widely understood baseline for comparing provider reimbursement. The
Medicare allowed amount is adjusted by provider, geography, and service type. Therefore, the Medicare allowed
amount can normalize prices for relevant differences in provider, geography, and service.
158
    This price measure is calculated as net patient revenues divided by estimated Medicare allowable revenues. For
example, the 1995 price measure is calculated as the sum of net patient revenue from 1995, divided by the estimated
Medicare allowable 1995.


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VII.    A Common Method Exists to Calculate Sutter Hospital Overcharges for Inpatient
        Hospital Services

        80.      I now turn to a regression analysis of hospital price overcharges flowing from the
challenged conduct. Anti-steering restriction can, in principle, interfere with the competitive
process in both the Tied and the Tying markets. 166 In a Tied Market, a health plan that is forced
to carry a hospital in-network could have discouraged use of that hospital by placing it in a less
accessible tier, associated with higher patient responsibility. In a Tying Market, a health plan
could have used benefit design (or even the threat of it) to steer volume away from the local
Sutter hospital, towards a lower-priced hospital. Such a strategy could have placed downward
pressure on Sutter’s prices, despite the fact that the local Sutter hospital has market power over
health plans in the Tying Market. 167 Thus, I use a regression model to study price differences
between certain Sutter hospitals and a group of benchmark hospitals that in many ways resemble
Sutter, except they have not imposed similar restrictions on health plans. For this purpose, my
analysis focuses on the Sutter hospitals in the four Tied Markets and the Berkeley-Oakland
Tying Market, which is about three times as large, in terms of population, as the next largest
Tying Market. To the extent the challenged conduct caused overcharges in the other Tying
Markets, the damages estimates I present below will be conservative.

        A.       Identification Strategy

        81.      There are several textbook approaches to determining whether and the extent to
which prices have been inflated as a result of the challenged anticompetitive conduct. 168 In all of
these approaches, one attempts to model what prices would have been in a counterfactual world
in which the challenged conduct never took place; then, by comparing prices that prevailed in the


166
    One should not conclude that there is no room for competitive harm in the Tying Markets, under the single
monopoly profit theory, simply because Sutter has market power there. See Baker, Jonathan, “Note on “Single
Monopoly Profit” Theory,” September 18, 2014, available at
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2496932, site visited June 4, 2018 (Explaining that some
antitrust commentators argued that firms that “already have the incentive and ability to charge a monopoly price,
and that it cannot profitably expand or extend its monopoly power, as by charging even higher prices, through
practices that restrict …competition,” and “The single monopoly profit theory is logically valid as a matter of
economic theory only in one extreme case: when buyers have literally no alternatives to the monopolist’s product
and prohibitively high entry barriers prevent any future competition.”).
167
    A regression model is able to controls for local competitive conditions and, as such, measures overcharge as
prices in excess of prices that reflect market power exercised in the absence of the challenged conduct.
168
    Proving Antitrust Damages, pp. 179-187.


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        C.       Regression Model

        86.      Because price differences between the Sutter and the Benchmark Hospitals may
be driven by differences in factors other than the challenged conduct, I use what is widely-known
in the literature as a “reduced form regression model” to adjust for observable differences that
may potentially explain some portion of the price differences. In this section, I provide a brief
primer to guide the discussion, as well as a more detailed description of the regression model.

                 1.       Regression Primer

        87.      For the Court’s convenience, I begin with a brief primer on the statistical methods
and terminology that I will use in describing my analyses and opinions. A more comprehensive
discussion of regression analysis can be found in Professor Daniel Rubinfeld’s “Reference Guide
on Multiple Regression” in the Reference Manual on Scientific Evidence published by the
Federal Judicial Center. 173 In particular, the glossary of terms in the Reference Guide defines all
of the statistical terms that I use in this report. 174

        88.      Regression analysis is a statistical methodology for determining the relationship
between a dependent variable and a set of explanatory variables. 175 The dependent variable, here
the case-mix adjusted hospital prices, is what the statistical model is designed to predict. The
explanatory variables, which include local cost and demand factors, are hypothesized to
determine the dependent variable. Variables are numeric representations of characteristics (e.g., a
local “wage index” that measures how expensive an area is relative to the national average) or
outcomes (e.g., “hospital prices” that measure case-mix adjusted dollars). Regression analysis in
which there is more than one explanatory variable is referred to as multiple regression
analysis. 176 This analysis is distinguished from single regression analysis, in which there is one
explanatory variable. Where the explanatory variables are not a function of the dependent
variable, the regression analysis is called a “reduced form” regression analysis. Such models are

173
    Rubinfield, Daniel L., “Reference Guide on Multiple Regressions,” in Reference Manual on Scientific Evidence,
2011, 3rd Edition (hereafter “Reference Guide on Multiple Regression”), pp. 303-357, available at
https://www.fjc.gov/sites/default/files/2015/SciMan3D08.pdf, site visited June 4, 2018. See also, Proving Antitrust
Damages, pp. 135-137.
174
    Reference Guide on Multiple Regression, pp. 352-356.
175
    Reference Guide on Multiple Regression, pp. 305 and 312-314.
176
    Reference Guide on Multiple Regression, p. 305.




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widely used in antitrust litigation because they are manageable in terms of modeling and data
requirements. 177

        89.      Statisticians typically use the notation y to represent the dependent variable and
the notation x to represent the explanatory variables. In the case of multiple regression, the
explanatory variables are distinguished from each other using subscripts (for example, x1 and

x 2 ). The dependent variable is expressed as a linear combination of the explanatory variables
plus a disturbance or error term: y         E o  E1 x1    E k x k  H . In this equation, the E k are
referred to as parameters; they quantify the effects that changes in the associated explanatory
variables have on the dependent variable, holding all other variables constant. 178 In many
economic applications, where one wishes to study the percentage change in y that results from a
percentage change in x1 (as opposed to an absolute change in y from a small change in x1 ), it is
appropriate to transform the continuous variables into logarithms. 179 In this case, a value of 0.5
for ߚଵ (the coefficient on the logarithmic transformation of x1 ) means that a ten percent increase

in x1 is associated with a five percent increase in y . The disturbance or error term, H , is
intended to reflect the fact that no model can perfectly predict a dependent variable. 180 The
disturbance term captures the summary effects of random influences, excluded variables, and
measurement errors. 181

        90.      In practice, there is a balance of considerations in selecting the explanatory
variables, which is driven largely by the economic issues. First, one should include key factors
that are anticipated to affect the dependent variable. Second, one should avoid including
redundant information, as such inclusion will create a multi-collinearity problem that may make
it difficult to estimate and interpret the parameters of interest. 182 Third, the number of variables


177
    Rubinfeld, Daniel L., “Quantitative Methods in Antitrust,” Issues in Competition Law and Policy, ABA Antitrust
Law, American Bar Association, 2008 (hereafter “Rubinfeld (2008)”), Chapter 30.
178
    Reference Guide on Multiple Regression, p. 336.
179
    Proving Antitrust Damages, p. 189.
180
    Reference Guide on Multiple Regression, p. 352.
181
    Kennedy, Peter, A Guide to Econometrics, Malden, MA: Blackwell Publishing, 6th edition, 2008, (hereafter,
“Kennedy”), pp. 3-4.
182
    Reference Guide on Multiple Regression, p. 324.




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one can include is naturally limited by sample size; in the extreme, the number of explanatory
variable is capped at the sample size. 183 As a general rule, one is likely to gain precision in the
estimated parameters as the sample size increases. 184

         91.      A frequently used method of regression analysis estimates the parameter values,
Ê k , that best “fit” the observed data. 185 It does this by choosing the parameter values that
minimize the sum of squared differences between the observed values of the dependent variable,
y , and the predicted values of the dependent variable for that set of parameter values,

yˆ    Eˆo  Eˆ1 x1    Eˆ k x k . 186 (For this reason, regression analysis is sometimes referred to as
“least squares” or “ordinary least squares.”) As is typical in statistics, I distinguish here between
the true parameter values, E k , which are not known to the statistician, and their estimated

counterparts, Ê k , by denoting the latter with a “hat.” Estimated parameters that are, on average,

equal to the true parameter values are referred to as unbiased parameter estimates. 187 A textbook
result is that when the disturbance term is independent of the explanatory variables, the estimated
parameters will be unbiased.

         92.      The presence of the disturbance or error term means that any particular sample of
data for the dependent and explanatory variables will lead to different parameter estimates, and
the standard error of the parameter estimates measures the variability of the estimated
parameters, Ê k , around their true values, E k . 188 A smaller standard error indicates more


183
    Wooldridge, Jeffrey, Introductory Econometrics: A Modern Approach, 5th Edition, 2012, (hereafter,
“Wooldridge (2012)” at p. 86.
184
    Vice versa, a smaller sample size means a larger variance and a larger confidence interval for the estimator. See
Wooldridge (2012), p. 761 (explaining that the variance of the sample average for estimating the mean “can be made
very close to zero by increasing the sample size n. This is a key feature of a reasonable estimator…[A]mong
unbiased estimators, we prefer the estimator with the smallest variance.”); and p. 777 (“Because this standard error
[for the sample average estimator] shrinks to zero as the sample size grows, a larger sample size generally means a
smaller confidence interval.”).
185
    Rubinfeld (2008), p. 723.
186
     Reference Guide on Multiple Regression, p. 354.
187
    It is unlikely that using regression analysis on any particular sample would produce estimated parameters that
were precisely equal to the true parameter values. Unbiasedness refers to the property that if the estimates were
calculated on a large number of different samples, on average the values of the estimated parameters across those
samples would be equal to the true parameter values. Unbiasedness is generally a desirable statistical property.
188
    Reference Guide on Multiple Regression, pp. 340-344.




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precisely estimated parameters (that is, the parameter values vary to a less extent from sample to
sample), and, all else equal, standard errors decrease as the sample size increases.

         93.      Estimating reliable standard errors requires making assumptions about the
properties of the error term. The basic ordinary least squares regression model assumes, among
other things, that the error term exhibits homoskedasticity, or in other words exhibits the same
variance across all hospitals. Sometimes, as may be the case here, the variance in the errors may
vary from hospital to hospital; in such cases, the error term is said to exhibit heteroskedasticity.
Furthermore, one might expect the errors across hospital-years to be correlated with each other.
There are well-established methods for estimating standard errors to account for such error
structures. 189

         94.      One can use reliable estimates for the parameters and their associated standard
errors to test various hypotheses of interest. A hypothesis that statisticians commonly test is: a
given explanatory variable has no effect on the dependent variable, or equivalently the parameter
associated with that explanatory variable is zero. To test this hypothesis, one looks at whether
zero is within the confidence interval of the estimated coefficient. Confidence intervals (and the
standard errors used to construct them) are the statistical tools used to reflect the uncertainty that
arises from the sampling error. 190 Standard error captures the variability of the sample estimate if
one were to hypothetically repeat the sampling procedure many times. Given the variability of
the sample estimate and the associated standard error, a “confidence interval” provides a range of
values within which the true population value is likely to lie. 191 It is common practice to look at
95 percent confidence intervals, which would include the true population value 95 percent of the
time. In statistical terminology, the sample estimate is not “statistically different” from each
value within the confidence interval at the 5 percent (=100 – 95 percent) significance level. Thus,
if zero lies inside the confidence interval of an estimated coefficient, one would not be able to
reject the hypothesis that underlying parameter is zero.


189
    Greene, William H., Econometric Analysis, 5th Edition, Upper Saddle River, New Jersey: Prentice Hall, 2003,
pp. 158-164.
190
    Wooldridge (2012), pp. 770-772. See also, Proving Antitrust Damages, pp. 159-163.
191
    A 95 percent two-sided confidence interval is an interval around the sample estimate, constructed based on the
standard error, that would contain the true population value 95 percent of the time if the sampling procedure were to
be repeated infinitely. The larger is the standard error, the wider the confidence interval. See Wooldridge (2012), pp.
770-772. See also, Reference Guide on Multiple Regression, p. 343.


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        95.      There are two reasons why the hypothesis that a parameter is zero is not rejected:
(a) it may be the case that the parameter is really zero (i.e. the explanatory variable really has no
effect on the dependent variable); or (b) it may be the case that the parameter is imprecisely
estimated (i.e. the confidence interval includes zero, but it also includes a wide range of other
non-zero values). Thus, one must be especially cautious in concluding a parameter is zero in
circumstances where the parameter estimate is economically significant, but the standard error is
large. As a general rule, the smaller the standard error relative to the estimated parameter, the
more precise is the estimate of the parameter. Economists typically denote statistical significance
using a “star” or “asterisk” convention, where one star denotes statistical significance between
five and ten percent, two stars denote statistical significance between one and five percent, and
three stars denotes statistical significance at one percent or less. The more stars there are, the
more precisely estimated is the effect and the more confidence one has in rejecting the
hypothesis that the parameter is zero or, in other words, concluding that the estimated effect is
different from zero.

        96.      The adjusted R2 is a measure of goodness-of-fit of the regression model that
measures the fraction of the variation in the dependent variable that is explained by the
explanatory variables. 192 In the standard model, the values of the adjusted R2 range between zero
and one: a value of zero means that the explanatory variables explain none of the variation in the
dependent variable (i.e., they are of no predictive value), while a value of one means that they
explain all of the variation in the dependent variable (i.e., they exactly predict the dependent
variable).

                 2.       Dependent Variable: Hospital Prices

        97.      For each hospital-year, over the years 2006 to 2015, I calculate a case-mix
adjusted hospital price as the sum of allowed amounts from the individual claims for each
hospital-year combination, divided by the sum of the DRG weights associated with the
individual claims. 193 The advantage to this measure of hospital price is that it is based on claim-


192
    Reference Guide on Multiple Regression, p. 345. See also, Kennedy, pp. 90-92 and 102-103 for a more technical
discussion of the adjusted R2.
193
    The analysis includes in-network, fully-insured claims. It excludes claims associated with MDC codes 0
(unknown), 19 (alcohol/drug use), or 20 (psychiatric) and DRG codes “UNK”, “000”, “795” (normal newborn),



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level data and represents the actual price received by the hospital for hospital services rendered
to Class Members. This includes patient out-of-pocket expenses, not just health plan payments.

                 3.       Explanatory Variables

        98.      To be useful for the purpose at hand, the regression model must include the key
explanatory variables that are likely to predict hospital prices, especially Sutter hospital prices.
For this purpose, I have surveyed the literature to identify control variables that are commonly
used by researchers to predict hospital prices, including California hospital prices. 194 While
individual researchers make different selections, the common themes are that they control for
factors that are likely to affect hospital costs, hospital quality, and the hospital’s ability to
exercise market power over health plans. As a general matter, hospitals have higher prices when:
(a) they have higher costs; (b) they have more desirable characteristics, like being a teaching
hospital; (c) they face less competition; and (d) they belong to bigger systems.

        99.      Given my review of the available data and my understanding of the drivers of
hospital prices, the baseline model I use to predict Sutter prices includes the following
explanatory variables:



“998” (ungroupable), “999” (unknown), “D30”, “D31”, “D37”, “D45”, “D54”, “D56”, “D62”, “D63”, “D64”,
“D75”, “D86”, “DR>”, “DRG”, “KEY”, “MED”, “065”, “V10”, or “V45”. It excludes claims with missing allowed
amounts, missing DRG weights, and/or non-positive allowed amounts. It excludes the bill types: “0110,” “011,”
“0115,” “115,” “0118,” “0119,” “011A,” “011C,” “011G,” “011H,” “011I,” “011K,” “011M,” “011N,” “011P,”
“011Q,” “011Y,” “011Z,” “0120,” or “0129.” The analysis also excludes claims associated with non-California
residents, by retaining claims associated with patient zip code digits between 90000 and 96162. See Appendix C.
194
    See discussion in Guerin-Calvert, Margaret and Guillermo Israilevich, “Assessment of Cost Trends and Price
Differences for U.S. Hospitals,” American Health Association, March 2011; Capps, Cory and David Dranove,
“Hospital Consolidation and Negotiated PPO Prices,” Health Affairs, Vol. 23, No. 2, 2004, pp. 175–176; Ciliberto,
Frederico and David Dranove, “The Effect of Physician-Hospital Affiliation on Hospital Prices in California,”
Journal of Health Economics, Vol. 25, 2006, pp. 29-38; Dranove, David, Richard Lindrooth, William White, and
Jack Zwanziger, “Is the Impact of Managed Care on Hospital Prices Decreasing?,” Journal of Health Economics,
Vol. 27, 2008, pp. 362-376; Dranove, David and Richard Ludwick, “Competition and Pricing by Non-Profit
Hospitals: A Reassessment of Lynk’s Analysis,” Journal of Health Economics, Vol. 18, 1999, pp. 87-98; Dranove,
David, “Pricing by Non-Profit Institutions: the Case of Hospital Cost Shifting,” Journal of Health Economics, Vol.
7, 1988, pp. 47-57; Keeler, Emmett, Glenn Melnick, and Jack Zwanziger, “The Changing Effect of Competition on
Non-Profit and For-Profit Hospital Pricing Behavior,” Journal of Health Economics, Vol. 18, 1999, pp. 69-86;
Melnick, Glenn and Katya Fonkych, “Hospital Price Increases in California, Especially Among Hospitals in the
Largest Multi-Hospital Systems,” The Journal of Health Care Organization, Provision, and Financing, Vol. 53,
2016, pp. 1-7; Dranove, David, Mark Shanley, and William White, “Price and Concentration in Hospital Markets:
The Switch from Patient-Driven to Payer-Driven Competition,” Journal of Law and Economics, Vol. 36, No. 1,
1993, pp. 179-204; Sanchez, Jeffrey and James Welch, “Special Commission on Provider Price Variation Report,”
March 15, 2017, pp. 1-5.




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      x   Wage Index: This is a variable constructed by CMS to measure differences in hospital
          wages relative to the national average. Hospitals in areas with higher hospital wages are
          expected to charge higher prices to cover costs; thus,
                                                            195



      x   Teaching: This is an indicator variable equal to one if the hospital is a major teaching
          hospital and zero otherwise. A hospital is considered a major teaching hospital if its
          resident-to-bed ratio is greater than or equal to 0.25. 196 Teaching facilities tend to be
          more expensive on average; thus, I expect the estimated coefficient associated with
          Teaching to be positive. 197

      x   Trauma Level 1 or 2: This is an indicator variable, obtained from OSHPD, that is equal to
          one for hospitals with trauma levels one or two, and zero otherwise. 198 Trauma facilities
          tend to be more expensive on average; thus, I expect the estimated coefficient associated
          with Trauma to be positive. 199

      x   Number of Competitors: To control for differences in the competitive landscape in which
          each hospital operates, I control for the number of non-Kaiser hospitals from a different
          system within a 30-minute drive time from the hospital of interest. Drive times to nearby
          hospitals are calculated using the Google Distance Matrix API. The maximum number of
          competitors present using this measure, for any hospital in the sample, is ten. Thus, I

195

196
    Cromwell, Jerry, Walter Adamache and Edward Drozd, “BBA Impacts on Hospital Residents, Finances, and
Medicare Subsidies,” Health Care Financing Review. Vol. 28, No. 1, 2006, p. 121. See also, NIS Description of
Data Elements, “HOSP_TEACH – Teaching status of hospital,” available at https://www hcup-
us.ahrq.gov/db/vars/hosp_teach/nisnote.jsp, site visited June 12, 2018.
197
    Frakt, Austin, “Teaching Hospitals Cost More, but Could Save Your Life,” The New York Times, June 5, 2017,
available at https://www nytimes.com/2017/06/05/upshot/teaching-hospitals-cost-more-but-could-save-your-
life.html.
198
    Sutter Health, “What is a Trauma Center?” available at
https://www.sutterhealth.org/services/emergency/traumacenters, site visited March 17, 2018; and American College
of Surgeons, “Searching for Verified Trauma Centers,” available at
https://www.facs.org/search/trauma-centers, site visited March 17, 2018. (Note that the ACS specifically disclaims,
“The designation of trauma facilities is a geopolitical process by which empowered entities, government or
otherwise, are authorized to designate. The ACS does not designate trauma centers; instead, it verifies the presence
of the resources listed in The Resources for Optimal Care for the Injured Patient. This is a voluntary process and
only those trauma centers that have successfully completed a verification visit are listed.”).
199
    Newgard, Craig D. and Robert A. Lowe, “Cost Savings in Trauma Systems: The Devil’s in the Details,” Annals
of Emergency Medicine, Vol. 67, No. 1, 2016, pp. 68-70.




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          create a set of ten indicator variables, one for each configuration. 200 The results of a series
          of specification tests allow me to collapse the ten indicator variables to seven indicator
          variables: 201 (a) one is a composite called “One to Four Competitors” which equals one if
          the hospital has one to four competitors within 30 minutes; (b) the rest are the individual
          indicator variables for hospitals with five, six, seven, eight, nine, and ten competitors
          within 30 minutes. Because hospitals that face less competition tend to be more
          expensive on average, I expect the estimated coefficients associated with the number of
          competitors in the model to be negative. 202

      x   Patient Rating: This variable, constructed by CMS, records the percent of patients saying
          they would rate the hospital nine or ten on a scale from zero to ten, where ten is the most
          favorable patient rating. Because CMS started reporting this information in 2008, I use
          the hospital’s 2008 value for years 2006 and 2007. This variable is intended to be a proxy
          for some aspects of hospital quality; as such, I expect the estimated coefficient associated
          with Patient Rating to be positive. I recognize, however, that there is little agreement
          among healthcare researchers and practitioners as to the right way to measure hospital




200
    These indicator variables are: (a) “One Competitor” equals one if there is one hospital within 30 minutes of the
hospital; (b) “Two Competitors” equals one if there are two hospitals within 30 minutes of the hospital; (c) “Three
Competitors” equals one if there are three hospitals within 30 minutes of the hospital; (b) “Four Competitors” equals
one if there are four hospitals within 30 minutes of the hospital; (c) “Five Competitors” equals one if there are five
hospitals within 30 minutes of the hospital; (d) “Six Competitors” equals one if there are six hospitals within 30
minutes of the hospital; (e) “Seven Competitors” equals one if there are seven hospitals within 30 minutes of the
hospital; (f) “Eight Competitors” equals one if there are eight hospitals within 30 minutes of the hospital; (g) “Nine
Competitors” equals one if there are nine hospitals within 30 minutes of the hospital; (g) “Ten Competitors” equals
one if there are ten hospitals within 30 minutes of the hospital.
201
    Specification testing cannot reject the null hypothesis that the marginal effects of “One Competitor,” “Two
Competitors,” “Three Competitors,” and “Four Competitors” are equivalent. Accordingly, I group these for
convenience into a single category and estimate a common effect across the four variables. The parameter estimates
from the regression model with the ungrouped competition variables are similar to the parameter estimates from the
regression model with the grouped competition variables. See Chipty Workpapers.
202
    The sign of the parameter associated with a set of indicator variables is with reference to the omitted category,
which in this case is “No Competitors” which equals one if there are no other hospitals within 30 minutes of the
hospital.




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                  4.       Measuring Hospital-Level Overcharge, By Year

         102.     Using a regression model, I estimate Sutter’s overcharges in two different ways:
(a) out-of-sample prediction; and (b) in-sample prediction. I describe each approach and its
relative advantages here.

                           a)       Out-of-Sample Prediction
         103.     With out-of-sample prediction, the coefficients of the prediction model are
estimated only with the Benchmark Hospitals. The advantages of this approach are that the seven
Sutter Damage Hospitals do not influence the estimation of the coefficients of the regression
model, and it is possible to obtain hospital-year specific estimates of overcharges. A
disadvantage is that each overcharge estimate is based on a smaller sample (as compared to a
model that does not allow the overcharge to vary across the years), leading to noisier overcharge
estimates for some hospitals, in some years. Another disadvantage of out-of-sample prediction is
that standard estimation techniques assume homoskedasticity of the Sutter hospital prices,
though they accommodate heteroskedasticity in the estimation sample.

         104.     To implement out-of-sample prediction, I add to the explanatory variables
described above a set of Sutter Damage Hospital x Year indicator variables that are equal to one
for the individual Sutter Damage Hospital-year combination and zero otherwise. 213 The full
regression model is written as follows:

(1)   ‫݁ܿ݅ݎܲ ݈ܽݐ݅݌ݏ݋ܪ ݃݋ܮ‬௜,௬ = ߙ + σଶ଴ଵହ     ଻
                                    ௬ୀଶ଴଴଺ σ௡ୀଵ ߛ௡,௬ ܵ‫݈ܽݐ݅݌ݏ݋ܪ ݁݃ܽ݉ܽܦ ݎ݁ݐݐݑ‬௡ x ܻ݁ܽ‫ݎ‬௬ +
      ߚଶ ܹܽ݃݁ ‫ݔ݁݀݊ܫ‬௜,௬ + ߚଷ ‫݄݃݊݅ܿܽ݁ܶ ݎ݋݆ܽܯ‬௜,௬ + ߚସ ܶ‫ ݈݁ݒ݁ܮ ܽ݉ݑܽݎ‬1 ‫ ݎ݋‬2௜,௬ +
      ߚହ ܱ݊݁ ‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ ݎݑ݋ܨ ݋ݐ‬௜,௬ + ߚ଺ ‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ ݁ݒ݅ܨ‬௜,௬ + ߚ଻ Six ‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ‬௜,௬ +
      ߚ଼ ܵ݁‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ ݊݁ݒ‬௜,௬ + + ߚଽ ‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ ݐ݄݃݅ܧ‬௜,௬ + ߚଵ଴ ܰ݅݊݁ ‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ‬௜,௬ +
      ߚଵଵ ܶ݁݊ ‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ‬௜,௬ + ߚଵଶ ܲܽ‫݃݊݅ݐܴܽ ݐ݊݁݅ݐ‬௜,௬ + ߚଵଷ ݈‫ݏ݀݁ܤ ݉݁ݐݏݕܵ݃݋‬௜,௬ +
      ߚଵସ ݈‫݀݁ݎܽݑݍܵ ݏ݀݁ܤ ݉݁ݐݏݕܵ݃݋‬௜,௬ + σଶ଴ଵହ
                                         ௬ୀଶ଴଴଺ ߚଵହ,௬ Year௬ + ߳௜,௬


Because the model includes a separate Sutter Damage Hospital x Year indicator variable for each
Sutter Damage Hospital and each year, the model becomes a prediction model. 214 The estimated


213
    Because a Sutter Damage Hospital x Year indicator variable is only “turned on” for a single data point, the
regression model uses the parameter on the indicator variable to perfectly fit the data point. The remaining
coefficients are estimated based on other data points, and the coefficient on the indicator variable captures the
difference between the data point and the prediction from the remaining data points.
214
    Proving Antitrust Damages, p. 180; and Salkever, David S., “The Use of Dummy Variables To Compute
Predictions, Prediction Errors, And Confidence Intervals,” Journal of Econometrics, Vol. 4, 1976, pp. 393-397.


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coefficients on these indicator variables capture the differences between the actual price at each
Sutter Damage Hospital in each year and the predicted but-for price that the Sutter Damage
Hospital would have negotiated for that year had it not been in the Sutter system, but otherwise
maintained all of its other attributes (e.g. wage index, teaching status, trauma status, system size,
and competitive landscape). Thus, under the model assumptions, the estimated coefficients on
the Sutter Damage Hospital x Year indicators capture the overcharges resulting from Sutter’s
challenged conduct. If, for example, the coefficient on a Sutter Damage Hospital x Year
indicator takes the value of 0.35, one would say that the Sutter hospital price in that year is 42
percent higher as a result of the challenged conduct, accounting for the log transformation. 215

           105.   I estimate the parameters of equation (1) using the method of ordinary least
squares, with heteroskedasticity-robust standard errors, clustered by hospital. 216,217 As explained
above, the method of ordinary least squares models is the most commonly used econometric
method in practice. 218 Furthermore, this type of model is widely used to measure benchmark
damages in antitrust litigation. 219

                           b)       In-Sample Prediction
           106.   With in-sample prediction, the coefficients associated with the predictor variables
are estimated with a sample that includes both the Sutter Damage Hospitals and the Benchmark
Hospitals. A disadvantage of in-sample prediction is that the seven Sutter Damage Hospitals
influence the estimation of the coefficients of the prediction coefficients. Another disadvantage
is that it is not possible to obtain hospital-year specific estimates of overcharges; rather, the
model yields an average overcharge for each Sutter Damage Hospital over the relevant time



215
    Because the model uses the natural log of allowed amounts, the percent overcharge is approximated as 100 ‫כ‬
      ఉభ
(݁ െ 1). See Halvorsen, Robert, and Raymond Palmquist, "The Interpretation of Dummy Variables in
Semilogarithmic Equations," The American Economic Review, Vol. 70, No. 3, 1980, pp. 474 - 475, at 474.
216
    In these models, “the coefficients of the [independent] variables are estimated to minimize the amount of
variation in the dependent variable that is not explained by the [independent] variables in the model or
equivalently.” See American Bar Association, Econometrics: Legal, Practical, and Technical Issues, 2nd Edition,
Chicago, Illinois: ABA Publishing, 2014, pp. 65-66.
217
    Clustered standard errors allow for consistently estimating the standard errors of the estimated model coefficients
when the model errors have non-constant variances or are correlated across observations. See Proving Antitrust
Damages, pp. 159-163.
218
    Rubinfeld (2008), Chapter 30.
219
    Rubinfeld, Daniel L., and Justin McCrary, “Measuring Benchmark Damages in Antitrust Litigation,” Journal of
Econometric Methods, Vol. 3, No. 1, 2014, pp. 63-74.


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period. An advantage of this approach is that, because there are fewer coefficients to estimate
with a larger analysis sample (in comparison to the prediction described above), the design is
likely to yield more precise estimates of overcharges, particularly for certain smaller hospitals in
some years. Another advantage of this approach is that standard estimation techniques
accommodate heteroskedasticity in the standard errors for both Sutter Damage Hospitals and the
Benchmark Hospitals.

       107.    To implement the in-sample prediction model, I add to the explanatory variables
described above a set of Sutter Damage Hospital indicator variables that are equal to one for the
individual Sutter Damage Hospital and zero otherwise. The full regression model is written as
follows:

(2)    ‫݁ܿ݅ݎܲ ݈ܽݐ݅݌ݏ݋ܪ ݃݋ܮ‬௜,௬ = ߙ + σ଻௡ୀଵ ߛ௡ ܵ‫݈ܽݐ݅݌ݏ݋ܪ ݁݃ܽ݉ܽܦ ݎ݁ݐݐݑ‬௡ + ߚଶ ܹܽ݃݁ ‫ݔ݁݀݊ܫ‬௜,௬ +
       ߚଷ ‫݄݃݊݅ܿܽ݁ܶ ݎ݋݆ܽܯ‬௜,௬ + ߚସ ܶ‫ ݈݁ݒ݁ܮ ܽ݉ݑܽݎ‬1 ‫ ݎ݋‬2௜,௬ + ߚହ ܱ݊݁ ‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ ݎݑ݋ܨ ݋ݐ‬௜,௬ +
       ߚ଺ ‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ ݁ݒ݅ܨ‬௜,௬ + ߚ଻ Six ‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ‬௜,௬ + ߚ଼ ܵ݁‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ ݊݁ݒ‬௜,௬ +
       + ߚଽ ‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ ݐ݄݃݅ܧ‬௜,௬ + ߚଵ଴ ܰ݅݊݁ ‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ‬௜,௬ + ߚଵଵ ܶ݁݊ ‫ݏݎ݋ݐ݅ݐ݁݌݉݋ܥ‬௜,௬ +
       ߚଵଶ ܲܽ‫݃݊݅ݐܴܽ ݐ݊݁݅ݐ‬௜,௬ + ߚଵଷ ݈‫ݏ݀݁ܤ ݉݁ݐݏݕܵ݃݋‬௜,௬ + ߚଵସ ݈‫݀݁ݎܽݑݍܵ ݏ݀݁ܤ ݉݁ݐݏݕܵ݃݋‬௜,௬ +
       σଶ଴ଵହ
        ௬ୀଶ଴଴଺ ߚଵହ,௬ Year௬ + ߳௜,௬


The estimated coefficient on a Sutter Damage Hospital indicator variable captures the overall
average difference across the years between the actual price at the Sutter Damage Hospital and
the predicted but-for price that the Sutter Damage Hospital would have charged had it not been
in the Sutter system, but otherwise maintained all of its other attributes (e.g. wage Index,
teaching status and trauma level, system size, and competitive landscape). As before, under the
model assumptions, the estimated coefficients on the Sutter Damage Hospital indicators capture
the overcharges resulting from Sutter’s challenged conduct. Also as before, I estimate the
parameters of equation (2) using the method of ordinary least squares, with heteroskedasticity-
robust standard errors, clustered by hospital.

       D.      Regression Results

       108.    The baseline regression results for the predictor variables are shown in Exhibit 13,
for both the out-of-sample and in-sample prediction models. As seen here, most of the
explanatory variables are individually statistically significant and have the expected sign.
Hospitals located in areas with a higher wage index are more expensive. Hospitals that are major



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teaching hospitals and hospitals designated trauma levels 1 and 2 are more expensive, relative to
non-teaching hospitals and non-trauma level 1 and 2 hospitals, respectively. Hospitals with no
nearby competitors are more expensive than hospitals with some or many nearby competitor
hospitals. Hospitals with higher patient ratings are more expensive. Based on the coefficients on
the year indicator variables, which should be interpreted relative to 2006, case-mix adjusted
hospital prices are generally increasing over time. Large systems command higher prices, and the
system bed variables are jointly significant. 220 Overall, the variation in the explanatory variables
is able to explain about 50 percent of the variation in the dependent variable.

         109.     Thus, these regression results pass the basic sanity checks one typically performs
with regression output. The baseline regression models and the robustness checks, described
earlier, produce results that comport with economic principles. Furthermore, the robustness
checks also indicate that the general pattern of results with respect to common impact is stable
under reasonable alternative specifications and alternative groups of benchmark hospitals. For
these reasons, I use the results of the baseline model to calculate predicted prices for each of the
Sutter Damage Hospitals. I interpret the difference between the actual and predicted prices as an
estimate of the common impact resulting from the challenged conduct. To the extent Sutter’s
conduct has had umbrella effects, enabling other hospitals to also raise their prices, overcharge
estimates constructed in this way will understate the full effect of the challenged conduct.




220
    Their associated coefficient estimates indicate that a hospital system with more beds receives higher prices (as
seen by the positive coefficient on System Beds), but the price effect is diminishing (as seen by the negative
coefficient on System Beds Squared). See Chipty Workpapers.


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VIII. Health Plans Pass Through Increases in Medical Costs

         112.     Basic economic principles indicate that health plans will pass through at least
some portion of medical cost increases on to their consumers in the form of higher premiums.
How much is passed through depends on market conditions. 223 Given competitive conditions, a
health plan may decide to absorb some portion of a medical cost increase, by cutting into their
margins, to remain price competitive with other health plans who do not experience similar cost
increases. In this case, given the nature of the conduct, all non-Kaiser health plans will
experience the increase in Sutter’s hospital prices, and in that sense, they are all on a level-
playing field. To the extent health plans like Anthem and Blue Shield would absorb cost
increases to compete with Kaiser, pass-through may be less than 100 percent. However, the
evidence in this case indicates that Kaiser does not constrain the pricing of non-Kaiser health
plans, and all or nearly all increases in hospital prices are likely to be passed directly through to
premiums. I describe this evidence here.

         A.       Economics of Pass-Through

         113.     To the extent that any profit-maximizing firm experiences an increase in its
marginal cost of production, the firm will re-optimize and increase its price, which then induces
other firms in the market to re-optimize and increase their prices. A new market equilibrium is
reached when the profit-maximizing conditions for all firms are satisfied under the new costs and
prices. The pass-through rate is the ratio of the change in price to the change in the cost that
triggered the price change. 224

         B.       Institutional Factors that Will Drive Health Plans to Pass Through
                  Healthcare Costs Increases to Purchasers of Healthcare Coverage

         114.     Institutional features of the health insurance marketplace make it more likely that
health plans will pass through a significant portion of hospital price overcharges to entities
purchasing healthcare coverage. The first has to do with the premium rate setting process itself.


223
    Pindyck, Robert S. and Daniel L. Rubinfeld, Microeconomics, 8th Edition, Boston, Massachusetts: Prentice Hall,
2013, pp. 284-287 and 358-360. See also, Bulow, Jeremy I. and Paul Pfleiderer, “A Note on the Effect of Cost
Changes on Prices,” Journal of Political Economy, Vol. 6, No. 1, 1983, pp. 182-185.
224
    A firm’s own pass-through rate is the change in a firm’s price in response to the change in the firm’s cost, and a
cross-firm pass-through is the change in the firm’s price in response to the change in another firm’s cost.




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        E.       Econometric Analysis of Health Plan Cost and Premium Data Shows Full
                 Pass-Through

        123.     Finally, I study pass-through using a regression analysis of the relationship
between health care costs and premiums, using data filed by health plans in their annual Uniform
Rate Review Template (“URRT”) filings. 242 As part of this filing, health plans disclose actual
health care costs and actual premiums, on a per-member per-month (“PMPM”) basis. Using the
data from small group filings, by health plan, over the years 2012 to 2015, I study the
relationship between changes in prices and changes in cost. 243

        124.     Recall that the pass-through rate is the ratio of the change in price to the change in
the cost that triggered the price change. I understand that the actuarial process begins with
historical costs approximately two years in advance of year for which premiums are being
determined (“target year”). 244 These historical costs are then adjusted to reflect anticipated
inflation and changes in utilization patterns, to predict actual costs in the target year and
construct an actuarily sound premium for the target year. 245 Assuming actual costs in the target
year are a good approximation of expected costs in the target year, I study the relationship
between contemporaneous prices and costs, using a standard regression model.

        125.     In this model, the dependent variable is the natural log of PMPM premium in year
T and the explanatory variable is the natural log of PMPM cost in year T, along with other
controls. In this framework, the pass-through ratio is obtained directly from the coefficient on the
cost variable: it is interpreted as the percentage change in the PMPM premium that is associated
with a percentage change in the PMPM cost. A coefficient of one indicates 100 percent pass-
through. The estimated coefficient, shown in Exhibit 17, is 0.9 indicating a near one-for-one
change in prices for a given change in cost. Furthermore, I cannot reject the null hypothesis that
the value of one is in the 95 percent confidence interval. A value of one (which represents 100
percent) means that if costs go down by some amount, all of the cost reductions will be passed




242
                                               See also, Axene Declaration, ¶¶ 42-44.
243
                                                                              nd DMHC, “Search Rate Review
Filings,” available at http://wpso.dmhc.ca.gov/premiumratereview/searchratefilings, site visited June 18, 2018.
244
    Axene Declaration, ¶¶ 27-28.
245
                                                  nd Axene Declaration, ¶ 36.


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through, in the form of premium reductions, to entities purchasing healthcare coverage. Thus,
these results support the conclusion of full pass-through.

                                         Exhibit 17
                            Pass-Through Analysis for Small Groups
                            Dependent Variable = Log ($ Premium)
                                Explanatory Variable             Estimates
                                Log(Cost)                        0.914***
                                                                 (0.0874)

                                Includes Health Plan                Yes
                                Fixed Effects
                                Observations                         41
                                R-squared                          0.965
                      Notes:
                      1. Standard errors shown in parentheses below coefficient estimate.
                      The estimate is statistically significant at 1 percent significance level.
                      2. Coefficient estimated using ordinary least squares.
                     Source: DMHC Unified Rate Review Template filings, 2012-2016.


IX.    Common Impact

       126.    I turn now to a description of the evidence that Sutter’s conduct has harmed all or
nearly all proposed Class Members. First, the results of my regression overcharge model show
that Sutter’s inpatient hospital prices were higher relative to Benchmark Hospitals, for all Sutter
hospitals in the Tied and the Berkeley-Oakland Tying Markets, in nearly all years of the Class
period. Second, documents, testimony, and my regression analysis support the notion that higher
inpatient medical hospital costs directly translated to higher premium payments for all or nearly
all Class Members. Third, documentary evidence and testimony show that Sutter forced all Class
Health Plans to include all Sutter hospitals in the health plan provider networks, and Sutter
prohibited the use of benefit design that would have the effect of steering volume to lower-priced
hospitals. Fourth, documentary evidence and testimony show that Sutter’s practice was to offer
substantially similar prices to each of the health plans. These facts indicate that the mechanism
that Sutter used to raise prices and the associated harm caused by the challenged conduct is
common to all or nearly all Class Members. I describe each of these in turn.




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                                           Appendix A: CV


                                                                               TASNEEM CHIPTY
                                                                                Managing Principal

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Dr. Chipty is an expert in industrial organization, antitrust economics, and econometrics. Her
practice spans both the areas of antitrust litigation and mergers and acquisitions, in a broad array of
sectors including: agricultural equipment; airlines; broadcast and satellite radio; cable and satellite
television; containerized shipping; healthcare; newspapers; pharmaceuticals; pulp and paper; and
tobacco. Her work has been influential both internationally and domestically. She has assisted the
U.S. Department of Justice on several investigations and merger reviews. She has assisted the
Government of Australia at the World Trade Organization in a dispute surrounding Australia’s
national tobacco control policy. She was Comcast’s antitrust damages expert in Behrend et al. vs.
Comcast – a U.S. Supreme Court case in which the Court dismissed the case against Comcast
because of deficiencies in the plaintiffs’ damages model. On behalf of the parties, she studied the
competitive effects of the CenturyLink-Level 3 merger and the Charter-Time Warner Cable merger,
both of which received approvals from the U.S. Department of Justice and the Federal
Communications Commission. She serves as an antitrust advisor to the Massachusetts Health Policy
Commission, for whom she has evaluated the competitive effects of healthcare transaction in the
Commonwealth, including Partners Healthcare’s attempted acquisition of South Shore Hospital and
Hallmark Health. Dr. Chipty has submitted testimony, been deposed, and testified at trial in several
litigation matters. She has appeared before the Federal Trade Commission, the Department of
Justice, the World Trade Organization, the Canadian Mergers Bureau, the U.S. Copyright Board,
and the Canadian Copyright Board. She is co-editor of the current edition of the American Bar
Association’s book Proving Antitrust Damages. She has published research on the strategic use of
vertical integration, the role of firm size and network effects on bilateral business negotiations, and
the effects of regulations on firm behavior.
Prior to founding Matrix Economics, Dr. Chipty was a Managing Principal at Analysis Group, and
before that a Vice President at Charles River Associates. She has served on the faculties of the Ohio
State University, Brandeis University, and MIT, where she taught courses in antitrust and regulation,
industrial organization, and econometrics. Dr. Chipty received her Ph.D. in economics from the
Massachusetts Institute of Technology and her undergraduate degree in economics and mathematics
from Wellesley College.

EDUCATION
Ph.D.          Economics, Massachusetts Institute of Technology


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B.A.           Mathematics and Economics, with honors, Wellesley College


PROFESSIONAL EXPERIENCE
2016 –         Matrix Economics, LLC
               Founder and Managing Principal
2010 – 2016    Analysis Group, Inc.
               Managing Principal (2010-2016)
1999 – 2010    Charles River Associates, Inc.
               Vice President (2005-2010)
2005           Massachusetts Institute of Technology
               Visiting Associate Professor of Economics
1997 – 1999    Brandeis University, Graduate School of International Economics and Finance
               Visiting Assistant Professor of Economics
1995           Osaka University
               Visiting Foreign Scholar
1993 – 1999    Ohio State University
               Assistant Professor of Economics

TESTIMONY EXPERIENCE
   United States of America v. Deere & Company, Precision Planting LLC, and Monsanto
    Company, Civil Action No. 1:16-cv-08515 in the United States District Court for the Northern
    District of Illinois Eastern Division. On behalf of the United States, submitted testimony on
    December 23, 2016 and January 10, 2017; and testified at deposition on March 2, 2017. (Norm
    Familant and Bill Jones).
   United States of America, et al. v. Hillsdale Community Health Center, et. al., Case No. 5:15-cv-
    12311-JEL-DRG in the United States District Court for the Eastern District of Michigan. On
    behalf of the United States, submitted testimony on October 27, 2016 and December 5, 2016;
    and testified at deposition on December 12, 2016. U.S. Department of Justice, 2017 (Beth
    Armington and Katrina Rouse).
   In the Matter of: Statement of Proposed Royalties to be Collected for the Retransmission of
    Distant Television Signals, In Canada, for the Years 2014 to 2018, before the Canadian
    Copyright Board. Submitted testimony on October 2, 2015 and testified at trial on January 25-
    26, 2016, on behalf of Bell Canada, Cogeco Cable Inc., Rogers Communications Inc, Shaw
    Communications Inc., Videotron G.P., and Telus Communications Company. Fasken Martineau
    DuMoulin, LLP (Jay Kerr-Wilson).
   Challenges to Australia’s Tobacco Plain Packaging Act, on behalf of Australia, in the World
    Trade Organization. Submitted testimony on March 9, 2015, May 31, 2015, September 14, 2015,
    October 26, 2015, December 8, 2015, and February 1, 2016. Australian Government Solicitor
    (Simon Sherwood and Damien O’Donovan)
   Caroline Behrend et al. v. Comcast Corporation et al., Civil Action No. 03-6604 in the United

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    States District Court for the Eastern District of Pennsylvania. On behalf of Comcast Corporation,
    submitted testimony on April 10, 2009, on May 6, 2009, on May 11, 2009, on August 21, 2009,
    September 18, 2009, May 22, 2012, and January 15, 2014; testified at deposition on May 22,
    2009; and testified at a class recertification hearing on October 26, 2009. Kasowitz Benson
    Torres & Freidman (Michael Shuster and Sheron Korpus) and Davis Polk (David Toscano and
    Arthur Burke).
   American Broadcasting Company Inc., et. al. v. Aereo, 12 Civ. 1543, in United States District
    Court in the Southern District of New York. Submitted testimony on December 20, 2013 on
    behalf of Aereo. Fish and Richardson (David Hosp).
   DISH Network LLC. f/k/a Echostar Satellite LLC v. ESPN, Inc., and ESPN Classic, Inc., No. 09
    CIV 6875 (JGK) (FM), in United States District Court in the Southern District of New York.
    Submitted testimony on July 29, 2011; testified at deposition on November 22, 2011; testified at
    deposition in January 2013; testified at trial February 2013 on behalf of DISH Network.
    Flemming Zulack Williamson Zauderer LLP (Dean Nyciper) and Simpson Thatcher (Barry
    Ostrager and Mary Kay Vyskocil).
   Echostar Satellite LLC v. ESPN, Inc., ESPN Classic, Inc., ABC Cable Networks Group, Inc.,
    Soapnet L.L.C., and International Family Entertainment Inc., Index 08-600282 in the Supreme
    Court of the State of New York County of New York. Testified at deposition on June 23, 2011,
    on behalf of Echostar Satellite LLC. Flemming Zulack Williamson Zauderer LLP (Dean
    Nyciper).
   Casitas Municipal Water District v. United States, Case No. 05-168L in the United States Court
    of Federal Claims. Submitted testimony on February 25, 2010 and February 8, 2007, testified at
    deposition on March 10, 2010, testified at trial on October 28, 2010 on behalf of the United
    States. U.S. Justice Department (James Gette and Barrett Atwood).
   Royalties To Be Collected By CSI and SOCAN For the Reproduction and the Communication to
    the Public by Online Music Services, In Canada, of Musical or Dramaticaomusical Works, for
    the years 2007 to 2010, before the Canadian Copyright Board. Submitted testimony on April 29,
    2010 and on June 9, 2010, and testified at trial on June 28-9, 2010, on behalf of Apple Inc., Bell
    Canada Enterprises Inc., Rogers Communications Inc., Telus Communications Company, and
    Videotron Ltd. Goodmans LLP for Apple Inc. (Michael Koch); and Fasken Martineau
    DuMoulin, LLP for the rest (Jay Kerr-Wilson).
   United States of America v. Daily Gazette Company and MediaNews Group, Inc., Civil Action
    No. 2:07-0329 in the United States District Court Southern District of West Virginia. Submitted
    testimony on September 1, 2009, on behalf of the United States. U.S. Justice Department (John
    Reed, Mark Merva and Norm Familant).
   In re. ASARCO LLC, et al., Case No. 05-21207 in the United States Bankruptcy Court for the
    Southern District of Texas, Corpus Christi Division. Submitted testimony on August 1, 2008 and
    testified at deposition on August 7, 2008, on behalf of Ready Mix USA, LLC. Baker, Donelson,
    Bearman, Caldwell & Berkowitz P.C. (Gary Shockley).
   SOCAN Tariff No. 16 – Royalties To Be Collected By SOCAN For the Public Performance or the
    Communication to the Public by Telecommunication, In Canada, of Musical or
    Dramaticaomusical Works, for the years 2007 to 2009, before the Canadian Copyright Board.
    Submitted testimony on November 30, 2007 and testified at trial in January 2008, on behalf of a


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    consortium of Canadian background music users, including Bell ExpressVu, Chum Satellite
    Services, and DMX Canada. Fasken Martineau DuMoulin, LLP (Jay Kerr-Wilson and Aidan
    O’Neill).
   In the Matter of Digital Performance Right in Sound Recordings and Ephemeral Recordings for
    a New Subscription Service, CRB Proceeding 2005-5, before the U.S. Copyright Board.
    Submitted testimony on October 30, 2006 and July 24, 2007; testified at deposition on May 8,
    2007; and testified at trial in June 2007, on behalf of Sirius Satellite Radio and XM Satellite
    Radio. Wiley Rein, LLP for Sirius (Bruce Joseph) and Weil, Gotshal & Manges for XM (Ralph
    Miller).

MERGERS AND ACQUISITIONS AND OTHER GOVERNMENT INVESTIGATIONS
Dr. Chipty has extensive experience evaluating the competitive effects of proposed transactions and
has advised clients at various stages of their deals, including strategic advice in identifying targets,
assistance with agency review, and analyses for post-merger contestations. She has employed
economic and econometric tools to evaluate issues of market definition, critical loss analysis, direct
evidence of unilateral effects, and efficiencies. She has studied the likelihood of temporary or
permanent foreclosure, as part of a raising rivals cost strategy. In addition, she has assessed
regulatory structures and their associated effect on competition. Examples of Dr. Chipty’s work in
this area include:
   Assisting Nippon Yusen Kabushiki Kaisha Ltd., Mitsui O.S.K. Lines, Ltd., Kawasaki Kisen
    Kaisha Ltd. evaluate the competitive effects of a container shipping joint venture, before the
    Department of Justice, 2017. Wilmer Cutler Pickering Hale and Dorr (Hartmut Schneider).
   Assisting parties in the CenturyLink-Level 3 merger, before the Department of Justice and the
    Federal Communications Commission, 2017. Wachtell, Lipton, Rosen & Katz and Jones Day
    (Ilene Gotts and Bruce McDonald) and Covington & Burling (Yaron Dori)
   Assisted parties in the Charter-Time Warner Cable merger, before the Department of Justice and
    the Federal Communications Commission, 2015-2016. Wachtell, Lipton, Rosen & Katz and
    Jenner Block (Ilene Gotts and John Flynn).
   Submitted white paper evaluating the impact of tobacco plain packaging on smoking prevalence
    in Australia, to the Australian Parliament on behalf of the Government of Australia, in
    Australia’s post implementation review of tobacco plain packaging legislation, 2016. Australian
    Government Solicitor (Simon Sherwood and Simon Daley).
   Expert for the U.S. Department of Justice in its review of the One Main-Spring Leaf merger,
    2015. U.S. Department of Justice (Stephanie Fleming and Nicholas Hill).
   Coauthored a white paper, on behalf of Aeromexico, evaluating the competitive effects of airport
    slot allocation governing air traffic to and from Mexico City Airport, submitted to Mexico’s
    competition authority, 2015, (joint with Professor Robert Pindyck).
   Expert for Olin Corporation in its acquisition of Dow Chemical’s cholor-alkali business unit,
    before the Federal Trade Commission, 2014-2015. Baker Botts (William Henry and Thomas
    Dillickrath).



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                                                                             Tasneem Chipty, Page 5

   Expert for the Mergers Bureau of Canada in its review of Post Media’s acquisition of Sun
    Media. Canadian Mergers Bureau (Steve Sansom and Nicholas Janota).
   Assisted the U.S. Department of Justice in its challenge of American Express’s use of merchant
    restraints, 2014-2015. U.S. Department of Justice (Craig Conrath and John Read).
   Advised the Massachusetts Health Policy Commission on the likely competitive impact of
    Partners HealthCare System’s proposed acquisition of Hallmark Health System, including
    submitting a written statement in the HPC’s Cost and Market Impact Review of the transaction,
    2014. Health Policy Commission (Karen Tseng and Kate Scarborough).
   Advised the Massachusetts Health Policy Commission on the likely competitive impact of
    Partners HealthCare System’s proposed acquisition of South Shore Hospital, including
    submitting a written statement in the HPC’s Cost and Market Impact Review of the transaction,
    2013-2014. Health Policy Commission (Karen Tseng and Kate Scarborough).
   Assisted Saint Alphonsus Medical Center to evaluate the competitive effects of St. Luke’s
    Health System’s acquisition of Saltzer Medical Group, in Nampa, Idaho, 2012-2013. Honigman,
    Miller, Schwartz and Cohn (David Ettinger).
   Assisted Arris Group in its acquisition of Motorola Home business unit from Google, before the
    Department of Justice, 2013. Hogan Lovells (Logan Breed) and Troutman Sanders (Daniel
    Anziska).
   Coauthored a white paper, on behalf of Televisa, evaluating the competitive impact in the mobile
    telephone marketplace of Televisa’s proposed acquisition of 50% of GSF Telecom Holdings,
    S.A.P.I. de C.V., which owns 100% of Grupo Iusacell, S.A. de C.V. (joint with Almudena
    Arcelus and David Sosa). Submitted to Mexico’s competition authority, Federal Commission of
    Economic Competition, 2012.
   Conducted analyses and presented before staff of the FTC, in an investigation of two joint
    venture partners involving allegations of potentially anticompetitive conduct, 2011-2012. Baker
    Botts (Thomas Dillickrath and William Henry).
   Authored a white paper analyzing the likely effects of Steward Healthcare’s acquisition of
    Morton Hospital, in the greater Boston area, submitted to the State Attorney General’s office,
    June 14, 2011. Edwards Angell Palmer & Dodge (Patricia Sullivan).
   Evaluated the likely effects of the Southwest Airlines-Airtran merger, on behalf of the United
    States, Winter 2011. U.S. Justice Department (Michael Billiel and Oliver Richard).
   Coauthored a white paper, on behalf of Time Warner Cable, analyzing brinkmanship tactics and
    broadcast retransmission consent rules established by the 1992 Cable Act, submitted to the
    Federal Communications Commission (joint with Prof. Steven Salop, Dr. Martino DeStefano,
    Dr. Serge Moresi, and Dr. John Woodbury), June 3, 2010.
   Authored Federal Communication Commission Media Study #5, on behalf of the Commission,
    as part of it periodic review of the media ownership rules, analyzing the effects of ownership
    structure in broadcast radio, on program variety and advertiser and listener welfare, released
    June 2007.
   Coauthored a white paper analyzing bidding behavior and the potential competitive effects of the
    merger of Alcatel and Lucent, submitted to the Department of Justice (joint with Drs. Andrew


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    Dick and Stanley Besen), April 28, 2006. Skadden, Arps, Slate Meagher & Flom LLP (James
    Keyte and Neal Stoll).
   Conducted and presented analysis before the Federal Trade Commission on behalf of Barr
    Pharmaceuticals regarding its acquisition of a hormone contraceptive product (joint with Prof.
    Steven Salop), Fall 2005. Kirkland & Ellis LLP (Mark Kovner).
   Conducted an analysis of efficiencies on behalf of Time Warner and Comcast, in their joint bid
    for Adelphia Communications (joint with Dr. Stanley Besen). Paul Weiss Rifkind Wharton &
    Garrison, LLP (Joseph Simons).
   Assisted NorthShore University HealthSystem (formerly Evanston Northwestern Health
    Corporation) with the Federal Trade Commission’s post-merger investigation of the 2000 merger
    of Evanston Hospital and Highland Park Hospital. Winston & Strawn LLP (Michael Sibarium).

OTHER CONSULTING EXPERIENCE, BY TOPICAL AREA
Dr. Chipty has also provided consultation to litigation clients on matters some of which eventually
settled, and she has provided business guidance to clients for strategic planning. Examples of Dr.
Chipty’s work in this area include:

Tobacco
   Assisted the Department of Justice, in United States v. Philip Morris et al., Civil Action No. 99-
    2486, a RICO case against the major tobacco manufacturers and associations involving
    allegations of conspiracy to suppress information and to suppress innovation. U.S. Department
    of Justice (Steve Brody, Renee Brooker, and James Gette).
   Assisted Appalachian Oil Company, in R.J. Reynolds Tobacco Company v. Market Basket Food
    Stores, Inc., et al., Civil Action No. 5:05-CV-253. Baker, Donelson, Bearman, Caldwell &
    Berkowitz P.C. (Gary Shockley).
   Assisted Star Scientific, in Star Scientific, Inc. v. R.J. Reynolds Tobacco Company, Case No.
    AW 01-CV-1504 and AW 02-CV-2504. Crowell and Moring (Richard MacMillan and Kathryn
    Kirmayer).

Pharmaceutical and Health Care
   Advised the working groups of the Advanced Market Commitment (“AMC”), an initiative of the
    Gates Foundation to pilot the first AMC for the pneumococcus vaccine. The goal of this AMC is
    to provide appropriate market-based incentives to induce capacity investments by the major
    pharmaceutical companies for manufacturing sufficient vaccines for low-income countries.
   Assisted a pharmaceutical manufacturer against Medicaid reimbursement, fraud, and unfair trade
    practices claims brought by numerous State Attorneys General. O’Melveny & Meyers LLP
    (Steve Brody and Brian Anderson) and Baker Botts LLP (Richard Josephson).
   Advised Regional Urology, in Willis-Knighton Health System and Health Plus of Louisiana, Inc.
    v. Regional Urology LLC, et al., Civil No. CV02-1094-S. Breazeale Sachse & Wilson, LLP
    (Claude Reynaud).



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Media and Sports
   Assisted the YES Television Network in evaluating the value to the network of carriage rights
    for certain New Jersey Nets games, for contract renegotiation and possible arbitration. Boies
    Schiller & Flexner, LLP (Robert Dwyer).
   Assisted the Monte Carlo Tennis Tournament, in a dispute with the ATP Tour, alleging abuse of
    market power. Sidley Austin LLP (Alan Unger).
   Assisted a team of the National Football League, in a dispute with a cable operator, alleging
    vertical foreclosure. Boies Schiller & Flexner, LLP (Robert Dwyer).
   Assisted Major League Baseball in Major League Baseball Properties, Inc. v. Salvino, involving
    a challenge to the league’s use of centralized trademark licensing. Foley & Lardner LLP (Jim
    Mckeown).
   Advised HBO on reasonable fees for music performance rights in their negotiation with BMI.
    Cravath, Swaine & Moore LLP (Kenneth Lee).
   Advised XM Satellite Radio on reasonable fees for music performance rights for business
    negotiations. Shaw Pittman LLP (Cynthia Greer).

ECONOMETRICS AND STATISTICS
Dr. Chipty is an expert in the area of statistics and econometrics and has been successful at using
econometric arguments both to construct affirmative arguments in litigation as well as to evaluate
the use of econometrics by opposing experts. Many of the projects described above used
econometric analysis. Other examples of Dr. Chipty’s work in this area are described below:
   Submitted a white paper to the European Commission, DG Competition Bureau, on behalf of the
    European Liner Affairs Association, analyzing the impact of shipping conferences on carriers’
    ability to collude on prices (joint with Professor Fiona Scott Morton and Mr. Nils Von Hinten-
    Reed).
   Developed analyses and drafted a report on behalf of defendants in the In Re: Monosodium
    Glutamate Litigation in support of a defendants’ motion to dismiss plaintiff’s expert testimony
    based upon improper use of econometrics. Dorsey & Whitney LLP (Michael Lindsay) and
    Haynes & Boone LLP (Ronald Breaux).
   Used advanced statistical techniques along with a large volume of administrative data, on behalf
    of United Parcel Service, to evaluate the Postal Service’s expert testimony on variable costs.
    Piper & Marbury LLP (John McKeever).
   Evaluated and criticized the econometric testimony of a defendants’ expert, on behalf of a
    generic pharmaceuticals firm alleging vertical foreclosure and unlawful delay of entry. Solomon
    Zauderer (Colin Underwood).

TRISTATE RESEARCH PARTNERSHIP
Dr. Chipty was a member of the research team from 1997-1999 in this Department of Health and
Human Resources funded collaboration that included the states of Massachusetts, Alabama, and
Florida. Dr. Chipty worked with state governments to design research experiments, develop

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econometric models, and process large administrative databases, in an effort to understand the
structure, administration, and impact of minimum standards regulations.
   “The Black-White Wage Gap in the Deep South: Location, Location, Location?” (with Ann
    Dryden Witte), Working Paper 98-03, Tri-State Child Care Research Partnership, Miami, FL.
   “Employment Patterns of Workers Receiving Subsidized Child Care: A Study of Eight Counties
    in Alabama,” (with Ann Dryden Witte), Available from Margie Curry, Executive Director,
    Childcare Resources, 1904 First Ave. North, Birmingham, AL 35203-4006.
   “Parents Receiving Subsidized Child Care: A Study of Alabama’s Labor Force,” (with Ann
    Dryden Witte), Working Paper 98-01, Tri-State Child Care Research Partnership, Miami, FL.
   “Employment of Parents Receiving Subsidized Child Care in Dade County, Florida,” (with
    Harriet Griesinger and Ann Dryden Witte), Working Paper 98-03, Department of Economics,
    Wellesley College, Wellesley MA 02481.

SELECTED PAPERS AND PRESENTATIONS

Published Articles
“US: Economics” (with Michael Chapman), Global Competition Review, The Antitrust Review of the
Americas 2016, available at:
http://globalcompetitionreview.com/reviews/74/sections/275/chapters/2983/us-economics/.
“Economists’ Perspective on the Efficiency Defense in Provider Consolidations: What Works,
What Doesn’t Work, and What We Still Don’t Know,” American Health Lawyer’s Association
Connections Magazine, September 2015.
“Competitor Collaborations in Health Care: Understanding the Proposed ACO Antitrust Review
Process,” CPI Antitrust Chronicle, May 2011 (1).
“Vertical Integration, Market Foreclosure, and Consumer Welfare in the Cable Television Industry,”
American Economic Review, Vol. 91, No. 3, June 2001, pp. 428-453.
“The Role of Buyer Size in Bilateral Bargaining: A Study of the Cable Television Industry” (with
Christopher Snyder), Review of Economics and Statistics, May 1999, 81(2): 326-340.
“Economic Effects of Quality Regulations in the Daycare Industry,” American Economic Review,
Vol. 85, No. 2, May 1995, pp. 419-424.
“Horizontal Integration for Bargaining Power: Evidence from the Cable Television Industry,”
Journal of Economics and Management Strategy, Vol. 4, No. 2, Summer 1995, pp. 375-397.
“A Marginal Cost Transfer Pricing Methodology,” Tax Notes, Nov. 26, 1990 (with Ann Dryden
Witte, Wellesley College and NBER).

Chapters in Books
“Hospital-Physician Integration: The St. Luke’s Case” (with Deborah Haas-Wilson), in The Antitrust
Revolution, 7th Edition (Oxford University Press), edited by John Kwoka and Lawrence White,
forthcoming.

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                                                                           Tasneem Chipty, Page 9

Books Edited
Proving Antitrust Damages, 3rd Edition (ed., with Cathy Beagan Flood), (American Bar Association,
2017).

Book Reviews
The Antitrust Source, October 2007, Book Review of Michael D. Whinston, Lectures on Antitrust
Economics (Cambridge, MIT Press, 2006).
The Journal of Economic Literature, June 1992, Vol. XXX, No. 2, Book Review of Frank Cowell,
Cheating the Government (with Ann Dryden Witte, Wellesley College and NBER) (Cambridge,
MIT Press, 1990).

Working Papers
“In a Race Against the Clock: Auctioneer Strategies and Selling Mechanisms in Live Outcry
Auctions,” 2014 (with Lucia Dunn and Stephen Cosslett, the Ohio State University).
“Efficient Estimation Via Moment Restrictions,” (with Whitney K. Newey).
“Antidumping and Countervailing Orders: A Study of the Market for Corrosion-Resistant Steel,”
(with Brian L. Palmer).
“Firms’ Responses to Minimum Standards Regulations: An Empirical Investigation” (with Ann
Dryden Witte), NBER Working Paper # 6104.
“Effects of Information Provision in a Vertically Differentiated Market” (with Ann Dryden Witte),
NBER Working Paper # 6493.
“Unintended Consequences? Welfare Reform and the Working Poor” (with Ann Dryden Witte,
Magaly Queralt, and Harriet Griesinger), NBER Working Paper # 6798.

Invited Presentations
AHLA Antitrust Practice Group, “Interview with Tasneem Chipty, Founder and Managing Principal
of Matrix,” Member Briefing, March 2018, available at
https://www.healthlawyers.org/Members/PracticeGroups/Antitrust/Pages/Default.aspx.
ABA Webinar: “Market Definition in section 2 and section 7: The same but not the same? Questions
of fact or law?” November 2017.
International Congress of Addictology Albatros, “Economics of Tobacco Plain Packaging:
Australian Legislation,” May 2017.
Federal Communication Commission’s Event on Challenges Facing Independent Programmers,
April 2016, available at: https://www.youtube.com/watch?v=8yxC_3M4IWA.
Federal Communication’s Panel on Challenges Facing Multichannel Video Programming
Distributors, March 2016, available at: https://www.youtube.com/watch?v=03CMDtdpRDQ.
ABA Webinar: “Sports Leagues Claims After 5 Years After American Needle,” 2015.



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                                                                         Tasneem Chipty, Page 10

NYSBA Antitrust Class Action Program: “Comcast v. Behrend: Interpretation and Application of
Comcast to Damages Issues in Class Certification,” 2015.
AHLA Annual Meetings: “Antitrust and Provider Mergers and Affiliations: Competition vs. More
Affordable Care?” 2015.
AHLA Webinar: “Antitrust Implications and Lessons Learned from the Ninth Circuit Decision in St.
Luke’s,” 2015.
ABA Webinar: “St. Lukes: State and Federal Enforcement in Non-Reportable Program,” 2015.
NYC Bar Antitrust and Healthcare Program, 2015.
NYSBA Antitrust Law Section Annual Meetings: “Efficiencies: The Cheshire Cat of Merger
Analysis,” 2014.
NYC Bar Antitrust & Trade Regulation Committee: “Approaches to Antitrust Damages,” 2014.

PROFESSIONAL SERVICE
Defendant’s expert at the ABA Mock Trial involving the issue exclusivity, in the form of theaters’
use of clearances, 2017.
Vice Chair of the Antitrust Practice Group of the American Health Lawyers Association, 2014-2016.
Advisory board of the Pricing Conduct Committee, 2011-2012.
Editorial comments on a chapter of the ABA’s Price Discrimination Handbook, 2011.
Plaintiffs’ expert at the ABA Mock Trial involving the issue of resale price maintenance, 2008.
Editorial comments on a chapter of the ABA’s book on Market Definition, 2008.
Contribution to the ABA’s Econometrics Legal, Practical, and Technical Issues, 2005.

MEMBERSHIPS
American Health Lawyers Association (AHLA)
American Bar Association (ABA)
American Economic Association

HONORS
National Science Foundation Fellowship, 1989-1992
Phi Beta Kappa, 1988




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                                  Appendix B: Materials Considered

I.        Expert Reports and Declarations

      x    Declaration of Dr. Gautam Gowrisankaran in Support of Defendant’s Motion for
           Summary Judgment, October 5, 2017.

      x    Declaration of David V. Axene in Support of Plaintiffs’ Motion for Class Certification,
           June 21, 2018.

      x    Declaration of Dr. Tasneem Chipty in Opposition to Motion for Summary Judgement,
           May 26, 2018.

II.       Expert Reports and Declarations in the UFCW & Employers Benefit Trust v. Sutter
          Health Matter

      x    Declaration of Aldo De La Torre in Connection with Plaintiff UEBT's Motion for Class
           Certification, February 7, 2017.

      x    Declaration of Becky LaCroix-Milani in Connection with Plaintiff UEBT's Motion for
           Class Certification, February 7, 2017.

      x    Declaration of Chandra Welsh in Connection with Plaintiff UEBT's Motion for Class
           Certification, February 8, 2017.

      x    Declaration of David Joyner in Connection with Plaintiff UEBT's Motion for Class
           Certification, February 7, 2017.

      x    Declaration of Janet Lundbye in Connection with Plaintiff UEBT's Memorandum in
           Support of its Motion for Class Certification, February 6, 2017.

      x    Declaration of Jeff Sprague in Support of Defendants' Opposition to UEBT's Motion for
           Class Certification, April 11, 2017.

      x    Declaration of Michael Ramseier in Connection with Plaintiff UEBT's Motion for Class
           Certification, February 6, 2016.

      x    Declaration of Steve Melody in Connection with Plaintiff UEBT's Motion for Class
           Certification, February 7, 2017.


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   x    Declaration of Tracy Barnes in Connection with Plaintiff UEBT's Motion for Class
        Certification, February 7, 2017.

III. All Depositions and Associated Exhibits

   x    Deposition of Chris Mathewson, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on
        Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health et al., May 15,
        2018.

   x    Deposition of Jeff Sprague, UFCW & Employers Benefit Trust on behalf of itself and all
        others situated vs. Sutter Health, May 17, 2018.

   x    Deposition of Peter Anderson, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on
        Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health et al., August
        31, 2017.

   x    Deposition of Tracy Barnes, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on
        Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health et al., January
        1, 2018.

   x    Deposition of Michael Beuoy, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on
        Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health et al., May 2,
        2018.

   x    Deposition of Melissa Brendt, UFCW & Employers Benefit Trust on behalf of itself and
        all others situated vs. Sutter Health, May 15, 2018.

   x    Deposition of Melissa Brendt, UFCW & Employers Benefit Trust on behalf of itself and
        all others situated vs. Sutter Health, June 13, 2016.

   x    Deposition of John Chason, UFCW & Employers Benefit Trust on behalf of itself and all
        others situated vs. Sutter Health, May 25, 2018.

   x    Deposition of Gautam Gowrisankaran, Djeneba Sidibe, Diane Dewey and Jerry
        Jankowski on Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health
        et al., February 6, 2018.




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     x    Deposition of Stephen Lockhart, UFCW & Employers Benefit Trust on behalf of itself
          and all others situated vs. Sutter Health, November 8, 2016.

     x    Deposition of Robert Reed, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on Behalf
          of Themselves and All 15 Other Similarly Situated, v. Sutter Health et al., October 17,
          2017.

     x    Deposition of Tammy Tomcyzk, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on
          Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health et al., April
          30, 2018.

     x    Deposition of Aldo de la Torre, UFCW & Employers Benefit Trust on behalf of itself and
          all others situated vs. Sutter Health, March 13, 2017.

     x    Deposition of Kris Vine, In the Matter of Sutter/Summit, July 31, 2003.

     x    Deposition of Chandra Welsh, UFCW & Employers Benefit Trust on behalf of itself and
          all others situated vs. Sutter Health, April 12, 2017.

IV. Legal Documents

     x    Plaintiffs’ Memorandum of Points and Authorities in Support of Motion for Class
          Certification, Djeneba Sidibe et al. on Behalf of Themselves and All Others Similarly
          Situated, v. Sutter Health, June 22, 2018.

     x    Fourth Amended Complaint, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on
          Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health, September
          29, 2017.

     x    Class Action Complaint, UFCW & Employers Benefit Trust v. Sutter Health; Sutter East
          Bay Hospitals; Sutter West Bay Hospitals; Eden Medical Center; Sutter Central Valley
          Hospitals; Mills-Peninsula Health Services; Sutter Health Sacramento Sierra Region;
          Sutter Coast Hospital; Palo Alto Medical Foundation for Healthcare, Research and
          Education; and Sutter Medical Foundation, April 7, 2014.

V.       Produced Documents

     x    ABCLH008005


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x    ABCLH054780

x    ABCLH108094

x    ABCLH115049

x    ABCLH117043

x    ABCLH120166

x    ABCLH123497

x    ABCLH162555

x    ABCLH172907

x    ABCLH379969

x    ABCLH382035

x    ABCLH388256

x    ABCLH396261

x    ABCLH408171

x    AET-ESI0001511

x    AET-ESI0022876

x    BSC_SutterSub00037814

x    BSC_UFCW-00002428

x    BSC_UFCW-00002953

x    BSC_UFCW-00007608

x    BSC_UFCW-00003134

x    BSC_UFCW-00003325

x    BSC_UFCW-00008342

x    BSC_UFCW-00011799




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x    BSC_UFCW-00045000

x    BSC_UFCW-00045202

x    BSC_UFCW-00099460

x    BSC_UFCW-00121265

x    BSC_UFCW-00174271

x    BSC_UFCW-00200169

x    BSC-UEBT-0000001

x    BSC-UEBT-0005326

x    BSC-UEBT-0005339

x    BSC-UEBT-0009556

x    BSC-UEBT-0031648

x    BSC-UEBT-0037886

x    Cigna_6-16-00013085

x    DEF000049921

x    DEF000094390

x    DEF000094517

x    DEF000095680

x    DEF000096188

x    DEF000096837

x    DEF000097580

x    DEF000097795

x    DEF000102373

x    DEF000122903




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x    DEF000148126

x    DEF000151711

x    DEF000176667

x    DEF000186441

x    DEF000206743

x    DEF000208068

x    DEF000227544

x    DEF000228654

x    DEF000234584

x    DEF000251505

x    DEF000325395

x    DEF000423609

x    DEF000895660

x    DEF001361203

x    DEF001458429

x    DEF001786799

x    DEF001993646

x    DEF001993700

x    DEF001993762

x    DEF001993774

x    DEF002008388

x    DEF002017968

x    DEF002040107




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x    DEF002065731

x    DEF002198178

x    DEF002278956

x    DEF002583666

x    DEF002646081

x    DEF002647676

x    DEF002660141

x    DEF002662374

x    DEF002763553

x    DEF003691525

x    DEF003728623

x    DEF003741120

x    DEF003741121

x    DEF004260229

x    DEF004447422

x    DEF004687098

x    DEF004963326

x    DEF004963336

x    DEF004963337

x    DEF004963344

x    DEF00661911

x    DEF00877866

x    PROD00287444




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x    STCA0004697

x    STCA0006807

x    STCA0060998

x    STCA0117621

x    STCA0125576

x    STCA0234063

x    STCA0274993

x    STCA0281559

x    STCA0285864

x    STCA0433707

x    STCA0461852

x    STCA0588271

x    STCA0602090

x    STCA0626073

x    STCA0630549

x    UHC-00000005

x    UHC-00035140

x    UHC-00073965

x    UHC-00134453

x    UHC-00148539

x    UHC-00149371

x    UHC-00171576

x    UHC-00184183




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   x    UHC-00207585

   x    UHC-00210338

   x    UHC-005058737

   x    UHC-005085987

VI. Data Sources

   x    American Hospital Directory, “Free Hospital Profiles,” available at
        https://www.ahd.com/search.php, site visited May 23, 2018.

   x    Aetna, “1495757742035.xls,” April 1, 2014.

   x    Blue Shield Premiums Data

   x    Anthem Claims Data, SIDIBE_ABC_0139333 through SIDIBE_ABC_0139352.

   x    Anthem Premiums Data, SIDIBE_ABC_0139353 through SIDIBE_ABC_0139360.

   x    California Department of Finance, “Consumer Price Index,” available at
        http://www.dof.ca.gov/Forecasting/Economics/Indicators/Inflation/, site visited June 10,
        2018.

   x    California Department of Managed Health Care, “Unified Rate Review Template
        filings,” available at http://wpso.dmhc.ca.gov/premiumratereview/searchratefilings, site
        visited June 16, 2017.

   x    California Health Care Foundation, “California Health Insurers Enrollment Database,”
        available at https://www.chcf.org/wp-
        content/uploads/2018/01/CaliforniaHealthInsurersEnrollmentDataPublished2018.zip, site
        visited March 17, 2018.

   x    California Office of Statewide Health Planning and Development, “Hospital Annual
        Financial Data,” available at
        https://www.oshpd.ca.gov/documents/HID/HospitalFinancial/Pivot/HAFDDoc2013.pdf,
        site visited April 13, 2018.




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x    California Office of Statewide Health Planning and Development, “Hospital Annual
     Financial Data: Complete Data Set,” available at
     https://www.oshpd.ca.gov/HID/Hospital-Financial.html, site visited May 23, 2018.

x    California Office of Statewide Health Planning and Development, “Hospital Annual
     Financial Data: Pivot Profiles,” available at https://www.oshpd.ca.gov/HID/Hospital-
     Financial.html, site visited May 23, 2018.

x    California Office of Statewide Health Planning and Development, “Patient Discharge
     Data,” available by request at https://www.oshpd.ca.gov/HID/Patient-Discharge-
     Data.html, site visited May 23, 2018.

x    California Office of Statewide Health Planning and Development, “Patient Discharge
     Data (PDD) Data Dictionary Public Use File,” available at
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                                  Exhibit C3
                              Benchmark Hospitals
Hospital                                         HSA             County        Beds
UCSF Medical Center                              San Francisco   San Francisco 660
University Of California Davis Medical Center    Sacramento      Sacramento    626
Community Regional Medical Center                Fresno          Fresno        594
Stanford University Hospital                     Stanford        Santa Clara   566
John Muir Medical Center-Walnut Creek Campus     Walnut Creek    Contra Costa 524
El Camino Hospital                               Mountain View   Santa Clara   487
Santa Clara Valley Medical Center                San Jose        Santa Clara   464
St. Agnes Medical Center                         Fresno          Fresno        436
Kaweah Delta Medical Center                      Visalia         Tulare        403
Doctors Medical Center                           Modesto         Stanislaus    392
Mercy San Juan Hospital                          Carmichael      Sacramento    370
Good Samaritan Hospital- San Jose                San Jose        Santa Clara   366
Washington Hospital - Fremont                    Fremont         Alameda       359
St. Joseph's Medical Center Of Stockton          Stockton        San Joaquin   338
O'Connor Hospital                                San Jose        Santa Clara   334
John Muir Medical Center-Concord Campus          Concord         Contra Costa 313
St. Mary's Medical Center-San Francisco          San Francisco   San Francisco 300
Dominican Santa Cruz Hospital - Soquel           Santa Cruz      Santa Cruz    294
Santa Rosa Memorial Hospital                     Santa Rosa      Sonoma        291
Rideout Memorial Hospital                        Marysville      Yuba          291
Sequoia Hospital                                 Redwood City    San Mateo     279
Mercy General Hospital                           Sacramento      Sacramento    274
Salinas Valley Memorial Hospital                 Salinas         Monterey      269
St. Francis Memorial Hospital                    San Francisco   San Francisco 267
Mercy Medical Center                             Redding         Shasta        266
Seton Medical Center                             Daly City       San Mateo     255
Regional Medical Center Of San Jose              San Jose        Santa Clara   247
Shasta Regional Medical Center                   Redding         Shasta        246
Community Hospital Of The Monterey Peninsula     Monterey        Monterey      242
Marin General Hospital                           Greenbrae       Marin         218
Emanuel Medical Center                           Turlock         Stanislaus    209
Enloe Medical Center - Esplanade Campus          Chico           Butte         208
Valleycare Medical Center                        Pleasanton      Alameda       202
Dameron Hospital                                 Stockton        San Joaquin   202
Adventist Medical Center - Hanford               Hanford         Kings         199
Hanford Community Hospital                       Hanford         Kings         199
San Joaquin General Hospital                     Stockton        San Joaquin   196
St. Rose Hospital                                Hayward         Alameda       195
Lodi Memorial Hospital                           Lodi            San Joaquin   190
Doctors Medical Center - San Pablo               San Pablo       Contra Costa 189
Mercy Medical Center Merced - Community Campus   Merced          Merced        186
North Bay Medical Center                         Fairfield       Solano        180



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                                 Exhibit C3 (continued)
                                 Benchmark Hospitals
Hospital                                         HSA              County       Beds
Queen Of The Valley Hospital                     Napa             Napa          177
St. Joseph Hospital - Eureka                     Eureka           Humboldt      174
Methodist Hospital Of Sacramento                 Sacramento       Sacramento    162
Oroville Hospital                                Oroville         Butte         133
Natividad Medical Center                         Salinas          Monterey      130
Sierra View District Hospital                    Porterville      Tulare        128
San Ramon Regional Medical Center                San Ramon        Contra Costa 123
Community Hospital Of Los Gatos                  San Jose         Santa Clara   113
Clovis Community Medical Center                  Fresno           Fresno        109
Tulare District Hospital                         Fresno           Tulare        108
Madera Community Hospital                        Madera           Madera        106
Watsonville Community Hospital                   Watsonville      Santa Cruz    106
Mercy Hospital - Folsom                          Folsom           Sacramento    106
Sierra Nevada Memorial Hospital                  Grass Valley     Nevada        104
George L. Mee Memorial Hospital                  King City        Monterey      100
Alameda Hospital                                 Alameda          Alameda       100
Feather River Hospital                           Paradise         Butte         100
San Mateo Medical Center                         San Mateo        San Mateo     100
San Leandro Hospital                             San Leandro      Alameda        93
Marshall Medical Center                          Placerville      El Dorado      91
St. Helena Hospital                              Deer Park        Napa           91
Woodland Memorial Hospital                       Vacaville        Yolo           88
Sonora Regional Medical Center-Greenley          Sonora           Tuolumne       84
Mad River Community Hospital                     Arcata           Humboldt       80
Petaluma Valley Hospital                         Petaluma         Sonoma         80
Ukiah Valley Medical Center - Hospital Drive     Ukiah            Mendocino     78
Doctors Hospital Of Manteca                      Manteca          San Joaquin    73
St. Louise Regional Hospital                     Gilroy           Santa Clara    72
Barton Memorial Hospital                         South Lake Tahoe El Dorado      69
St. Elizabeth Community Hospital                 Red Bluff        Tehama         66
Fresno Heart & Surgical Hospital                 Fresno           Fresno         57
Sonoma Valley Hospital                           Sonoma           Sonoma         56
Chinese Hospital                                 San Francisco    San Francisco 54
Vaca Valley Hospital                             Vacaville        Solano         50
Hazel Hawkins Memorial Hospital                  Hollister        San Benito     49
Sierra Kings District Hospital                   Fresno           Fresno         44
Colusa Regional Medical Center                   Colusa           Colusa         42
Palm Drive Hospital                              Sebastopol       Sonoma         37
Mark Twain St. Joseph's Hospital                 San Andreas      Calaveras      36
Central Valley General Hospital                  Hanford          Kings          36
Oak Valley District Hospital                     Oakdale          Stanislaus     35
Mendocino Coast District Hospital                Fort Bragg       Mendocino      34
Fresno Surgical Hospital                         Fresno           Fresno         27
Northern Inyo Hospital                           Bishop           Inyo           25
Tahoe Forest Hospital                            Truckee          Nevada         25
Corcoran District Hospital                       Corcoran         Kings          24
Coalinga Regional Medical Center                 Coalinga         Fresno         24
Stanislaus Surgical Hospital                     Modesto          Stanislaus     23
Modoc Medical Center                             Alturas          Modoc          16



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Notes:
1. OSHPD Hospital Annual Financial Disclosure Data Pivot Profiles, 2008-2015.
2. Beds shown are the count of acute beds for each benchmark hospital in 2011. 12 benchmark hospitals did not
have a pivot profile in 2011. For these 12 hospitals, the count of beds from the most recent pivot profile is shown.
There are 91 benchmarks hospitals across 2006 – 2015, though not all appear in a single year.
Sources:
1.
2. OSHPD Hospital Annual Financial Disclosure Data, 2006-2015.
3. Centers for Medicare & Medicaid Services (CMS) Impact Files, 2006-2015.
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